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                               EXHIBIT 
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      1                    UNITED STATES DISTRICT COURT
      2                 FOR THE NORTHERN DISTRICT OF OHIO
      3                            EASTERN DIVISION
      4

      5    -----------------------------x
      6    IN RE: NATIONAL PRESCRIPTION             ) Case No.
      7    OPIATE LITIGATION                        ) 1:17-MD-2804
      8    APPLIES TO ALL CASES                     ) Hon. Dan A. Polster
      9    -----------------------------x
     10           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     11                       CONFIDENTIALITY REVIEW
     12

                   VIDEOTAPED DEPOSITION OF BLAINE M. SNIDER
     13

                                  WASHINGTON, D.C.
     14

                           THURSDAY, NOVEMBER 8, 2018
     15

                                      8:34 A.M.
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     24    Reported by: Leslie A. Todd

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      1        Deposition of BLAINE M. SNIDER, held at the

      2    offices of:

      3

      4

      5                     COVINGTON & BURLING, LLP

      6                     One City Center

      7                     850 10th Street, N.W.

      8                     Washington, DC 20001-4956

      9

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     11

     12

     13        Pursuant to notice, before Leslie Anne Todd,

     14    Court Reporter and Notary Public in and for the

     15    District of Columbia, who officiated in

     16    administering the oath to the witness.

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      1                         A P P E A R A N C E S

      2

      3    ON BEHALF OF PLAINTIFFS:

      4           BRANDON BOGLE, ESQUIRE

      5           WESLEY BOWDEN, ESQUIRE

      6           LEVIN PAPANTONIO THOMAS MITCHELL

      7             RAFFERTY & PROCTOR, PA

      8           316 S. Baylen Street, Suite 600

      9           Pensacola, Florida 32502

     10           (850) 435-7043

     11

     12    ON BEHALF OF McKESSON CORPORATION:

     13           KEVIN B. COLLINS, ESQUIRE

     14           WEISS NUSRATY, ESQUIRE

     15           COVINGTON & BURLING, LLP

     16           One CityCenter

     17           850 Tenth Street, N.W.

     18           Washington, D.C. 20001-4956

     19           (202) 662-5598

     20

     21

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   Golkow Litigation Services                                               Page 3
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      1    APPEARANCES (Continued):

      2

      3    ON BEHALF OF DEFENDANT CVS:

      4           DANIEL P. MOYLAN, ESQUIRE

      5           ZUCKERMAN SPAEDER, LLP

      6           100 East Pratt Street, Suite 2440

      7           Baltimore, Maryland 21202-1031

      8           (410) 949-1159

      9

     10    ON BEHALF OF DEFENDANT WALMART:

     11           SARAH G. CONWAY, ESQUIRE

     12           JONES DAY

     13           555 South Flower Street

     14           Fiftieth Floor

     15           Los Angeles, California 90071-2300

     16           (213) 489-3939

     17

     18    ON BEHALF OF DEFENDANT HBC CO.:

     19           SCOTT D. LIVINGSTON, ESQUIRE

     20           MARCUS & SHAPIRA, LLP

     21           One Oxford Centre, 35th Floor

     22           301 Grant Street

     23           Pittsburgh, Pennsylvania 15219-6401

     24           (412) 338-4690

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      1    APPEARANCES (Continued):

      2    ON BEHALF OF DEFENDANT CARDINAL HEALTH:

      3           MIRANDA PETERSEN, ESQUIRE

      4           WILLIAMS & CONNOLLY, LLP

      5           725 Twelfth Street, N.W.

      6           Washington, D.C. 20005

      7           (202) 434-5000

      8

      9    ON BEHALF OF ENDO PHARMACEUTICALS, INC. and

     10        ENDO HEALTH SOLUTIONS, INC.:

     11           JOHN D. CELLA, ESQUIRE

     12           ARNOLD & PORTER KAYE SCHOLER, LLP

     13           601 Massachusetts Avenue, N.W.

     14           Washington, D.C. 20001-3743

     15           (202) 942-6771

     16

     17    ON BEHALF OF AMERISOURCEBERGEN BERGEN:

     18           MOLLY Q. CAMPBELL, ESQUIRE

     19           REED SMITH, LLP

     20           1301 K Street, N.W.

     21           Suite 1000 - East Tower

     22           Washington, D.C. 20005

     23           (202) 414-9173

     24

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      1    APPEARANCES (Continued):

      2

      3    ON BEHALF OF ALLERGAN FINANCE:

      4           MICHAEL LeFEVOUR, ESQUIRE (Telephonically)

      5           KIRKLAND & ELLIS, LLP

      6           300 North LaSalle

      7           Chicago, Illinois 60654

      8           (312) 862-2000

      9

     10    ON BEHALF OF PRESCRIPTION SUPPLY, INC.:

     11           ERIC J. WILLIAMS, ESQUIRE (Telephonically)

     12           PELINI, CAMPBELL & WILLIAMS, LLC

     13           Bretton Commons - Suite 400

     14           8040 Cleveland Avenue NW

     15           North Canton, Ohio 44720

     16           (330) 305-6400

     17

     18    ALSO PRESENT:

     19           RICHARD WOODS, Paralegal

     20           DANIEL HOLMSTOCK, Videographer

     21

     22

     23

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      3           By Mr. Bogle                                        17, 489

      4           By Mr. Collins                                    453, 514

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      1                       P R O C E E D I N G S

      2                          ------------------

      3                   THE VIDEOGRAPHER:        We are now on the

      4    record.     My name is Daniel Holmstock.            I am the

      5    videographer for Golkow Litigation Services.

      6    Today's date is November 8, 2018, and the time on

      7    the screen is 8:34 a.m.

      8                   This deposition is being held at the law

      9    offices of Covington & Burling, LLP, at 850

     10    10th Street, Northwest, in Washington, D.C., in

     11    the matter of In Re: National Prescription Opiate

     12    Litigation.       It is pending before the United

     13    States District Court for the Northern District of

     14    Ohio, Eastern Division.

     15                   The deponent today is Mr. Blaine Snider.

     16                   Counsel will be noted on the

     17    stenographic record.          The court reporter is Leslie

     18    Todd, who will now administer the oath.

     19                       BLAINE M. SNIDER,

     20                and having been first duly sworn,

     21            was examined and testified as follows:

     22                           CROSS EXAMINATION

     23    BY MR. BOGLE:

     24            Q      Can I get your full name, sir?

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      1           A       Blaine Matthew Snider.

      2            Q      And am I correct that you're currently

      3    employed with McKesson?

      4           A       Yes.

      5            Q      Okay.    And have you ever been deposed

      6    before?

      7           A       No.

      8            Q      Okay.    Just a few basic ground rules

      9    that might help both of us here today.               I'm going

     10    to be asking you some questions, and if you don't

     11    understand the question I ask or don't hear it,

     12    it's perfectly okay for you to ask me to repeat or

     13    rephrase the question.          Okay?

     14           A       Okay.

     15            Q      If you need a break at any point in

     16    time, just let me know or your counsel know.

     17    Happy to take a break whenever you need it.                 All

     18    I'd ask is if I've got a question pending, that

     19    you answer that question, and then we can break

     20    for whenever you want.

     21                   And also I'm going to ask you questions,

     22    you're going to provide answers.             I'd ask that we

     23    try not to talk over each other.             So I'll ask my

     24    question, try to give you ample opportunity to

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      1    answer before I ask my next question.               Is that

      2    fair?

      3           A       Okay.

      4            Q      Okay.    And how long have you been with

      5    McKesson?

      6           A       Almost 40 years.

      7            Q      Okay.    Am I correct that you currently

      8    hold the director of operations position at the

      9    New Castle Distribution Center?

     10           A       Yes.

     11            Q      Okay.    How long have you held that

     12    specific position?

     13           A       Eighteen -- eighteen years.

     14            Q      Okay.    What was your job at McKesson

     15    prior to that?

     16           A       I was distribution center manager in

     17    Sewickley, Pennsylvania, and North Canton, Ohio.

     18            Q      Okay.    How long did you have that role?

     19           A       About three years.

     20            Q      How about prior to that?

     21           A       I was operations manager in Cincinnati,

     22    Ohio, and North Canton previous to that.

     23            Q      How long did you hold that position?

     24           A       Oh, I can't remember now.           Eight, ten

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      1    years, I guess.

      2            Q      Okay.    What was your job prior to that

      3    at McKesson, just the title?

      4           A       I started as a supervisor almost 40

      5    years ago.

      6            Q      Okay.    So would it be fair to say, just

      7    doing the rough math here, that you have nearly 30

      8    years of experience as a distribution center

      9    operations manager at McKesson?

     10           A       Yes.

     11            Q      Okay.    Now, McKesson itself as an entity

     12    has, as I understand it, 37 distribution centers

     13    around the country; is that right?

     14                   MR. COLLINS:       Objection to the form.

     15                   THE WITNESS:       I can't answer to -- it

     16    sounds like you're including med-surg or something

     17    else.      I know there's 28 distributions centers for

     18    U.S. pharma.

     19    BY MR. BOGLE:

     20            Q      Okay.    And New Castle is one of those 28

     21    distribution centers for U.S. pharma, correct?

     22           A       Yes.

     23            Q      And just so I understand, as director of

     24    operations for New Castle, it would be your

    Golkow Litigation Services                                             Page 20
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      1    general responsibility to run the day-to-day

      2    operations for the facility, correct?

      3                   MR. COLLINS:       Objection.     Form.

      4                   THE WITNESS:       I'm in charge of the

      5    facility, yes.

      6    BY MR. BOGLE:

      7            Q      Right.     So it's fair to say that you're

      8    the highest ranking McKesson employee at New

      9    Castle that has responsibility exclusive to that

     10    distribution center, right?

     11                   MR. COLLINS:       Objection to form.

     12                   THE WITNESS:       Well, I'm not sure.        I

     13    have a VP/GM I report to, but I run the

     14    distribution center.

     15    BY MR. BOGLE:

     16            Q      Who do you report to?

     17           A       Brian Ferreira, the VP/GM.

     18            Q      When it comes to decisions specific to

     19    the operations of New Castle, would it be fair to

     20    say that the buck stops with you?

     21                   MR. COLLINS:       Objection to form, vague.

     22                   THE WITNESS:       I don't think so.

     23    BY MR. BOGLE:

     24            Q      Okay.    Who do you think the buck stops

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      1    with at New Castle?

      2                   MR. COLLINS:       Same objection.

      3                   THE WITNESS:       I don't know the buck.         I

      4    know I'm in charge of the distribution center

      5    operations, and I have a boss who is the VP/GM.

      6    BY MR. BOGLE:

      7            Q      Okay.    When you say you're responsible

      8    for distribution center operations, what do you

      9    think that that -- that entails?

     10           A       In charge of the distribution center and

     11    the employees, and the pick, pack and ship of that

     12    operations.

     13            Q      When you say "pick, pack and ship," what

     14    does that mean?

     15           A       The day-to-day filling of orders for our

     16    customers out of the New Castle DC.

     17            Q      Okay.    And when it comes to pills that

     18    are distributed from New Castle, you would agree

     19    with me that it's your ultimate responsibility to

     20    make sure that those go to the proper customers

     21    for the proper purpose.

     22                   MR. COLLINS:       Objection.     Compound,

     23    form.

     24                   THE WITNESS:       We make sure the orders

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      1    are correct, accurate, billed correctly, shipped

      2    correctly, on time.

      3    BY MR. BOGLE:

      4            Q      And your job responsibilities also

      5    include, when it comes to controlled substances,

      6    making sure that the customers purchasing are

      7    purchasing for a legitimate medical purpose,

      8    correct?

      9                   MR. COLLINS:       Objection.     Form, calls

     10    for a legal conclusion, lacks foundation.

     11                   THE WITNESS:       I can't say for the

     12    customers all the time.           I can say that I follow

     13    the Code of Federal Regulations.

     14    BY MR. BOGLE:

     15            Q      Okay.    And part of the Code of Federal

     16    Regulations, when it comes to the Controlled

     17    Substances Act, talks about the distributor's

     18    responsibility to ensure that they're supplying

     19    drugs to customers who are buying it for a

     20    legitimate medical purpose, right?

     21                   MR. COLLINS:       Objection.     Form, asked

     22    and answered --

     23                   THE WITNESS:       Can you repeat that?

     24                   MR. COLLINS:       -- calls for a legal

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      1    conclusion.

      2                   Please let me finish my objections.

      3    BY MR. BOGLE:

      4            Q      When it comes to the Controlled

      5    Substances Act, you understand that part of that

      6    act requires that controlled substances that are

      7    distributed to customers are being provided for a

      8    legitimate medical purpose, correct?

      9                   MR. COLLINS:       Objection.     Form, calls

     10    for a legal conclusion.

     11                   THE WITNESS:       I can't --

     12                   MR. COLLINS:       Foundation.

     13                   THE WITNESS:       I can't say a legitimate

     14    medical purpose.        I don't know that phrase.           I'm

     15    sorry.

     16    BY MR. BOGLE:

     17            Q      You've never heard that phrase?

     18           A       No.

     19            Q      Okay.    You're a member of management at

     20    the distribution center for New Castle, right?

     21           A       Yes.

     22                   MR. COLLINS:       Objection to form.

     23    BY MR. BOGLE:

     24            Q      And the distribution center management

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      1    at McKesson has the full responsibility for

      2    ensuring the proper distribution of controlled

      3    substances, correct?

      4                   MR. COLLINS:       Objection to form, calls

      5    for a legal conclusion, vague.

      6                   THE WITNESS:       Can you repeat the

      7    question, please?

      8                   MR. BOGLE:      Can you repeat back, Court

      9    Reporter?

     10                   (Whereupon, the requested record

     11                   was read.)

     12                   MR. COLLINS:       Same objections.

     13                   THE WITNESS:       I believe so, yes.

     14    BY MR. BOGLE:

     15            Q      Okay.    And that's a job you take

     16    seriously, right?

     17           A       Yes.

     18            Q      Okay.    Just make sure you speak up a

     19    little bit.       I'm having sometimes a little trouble

     20    hearing you.

     21           A       Okay.

     22            Q      Is that "yes"?

     23           A       Yes.



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     15    BY MR. BOGLE:

     16            Q      You would agree with me that protecting

     17    the health and safety of the public is the most

     18    important consideration for any distributor of

     19    pharmaceutical products, correct?

     20                   MR. COLLINS:       Objection.     Form,

     21    foundation, calls for a legal conclusion, argue --

     22                   MR. BOGLE:      I believe you're supposed to

     23    just --

     24                   MR. COLLINS:       Argumentative.

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      1                   MR. BOGLE:      -- stick to form objections.

      2    You're going beyond that considerably here.

      3                   MR. COLLINS:       No, my objection is

      4    legitimate.       Your question wasn't.         So my

      5    objection stands.         It's the form, calls for a

      6    legal conclusion --

      7                   MR. BOGLE:      I believe the protocol calls

      8    for just form objections.           Not speaking objections

      9    beyond that.

     10                   MR. COLLINS:       We have a phone here if

     11    you want to make a call to the special master.

     12                   MR. BOGLE:      Well, we can see if this

     13    continues.      We may have to.

     14                   MR. COLLINS:       Listen, it's a proper

     15    objection.      Your question wasn't.

     16                   MR. BOGLE:      I don't want to stop ten

     17    minutes in.

     18    BY MR. BOGLE:

     19            Q      I'll ask my question again.

     20                   Do you believe that protecting the

     21    health and safety of the public is the most

     22    important consideration for a distributor of

     23    pharmaceutical products?

     24                   MR. COLLINS:       Same objections.       Form,

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      1    calls for a legal conclusion, foundation.

      2                   THE WITNESS:       I can't answer to all the

      3    health and safety of the public.             I can answer to

      4    the Code of Federal Regulations and my duties.

      5    BY MR. BOGLE:

      6            Q      Okay.    So do you believe that compliance

      7    with the Federal Regulations is the most important

      8    consideration for a distributor of pharmaceutical

      9    products like McKesson?

     10                   MR. COLLINS:       Objection to form.

     11                   THE WITNESS:       I think it's a part of it.

     12    BY MR. BOGLE:

     13            Q      Okay.    Any more important part that you

     14    can think of?

     15                   MR. COLLINS:       Same objections.       Form,

     16    foundation.

     17                   THE WITNESS:       Well, people.

     18    BY MR. BOGLE:

     19            Q      People, what do you mean by that?

     20           A       My employees.

     21            Q      Okay.    What about the people that you're

     22    supplying the controlled substances to ultimately,

     23    the end user?

     24                   MR. COLLINS:       Object --

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      1    BY MR. BOGLE:

      2            Q      Do you think you have any responsibility

      3    to those people?

      4                   MR. COLLINS:       Objection.     It's a

      5    mischaracterization, lacks foundation, form.

      6                   THE WITNESS:       I mentioned before about

      7    on-time, accurate delivery to my customers.

      8    BY MR. BOGLE:

      9            Q      Okay.    So you think you have any

     10    responsibility to the -- the end user, the person

     11    who's purchasing from your customer?

     12                   MR. COLLINS:       Objection to form, calls

     13    for speculation.

     14                   THE WITNESS:       I think I mentioned that

     15    before.     Yes.

     16    BY MR. BOGLE:

     17            Q      Okay.    And as to the ultimate purchaser,

     18    the person who's going to go to your -- to the

     19    pharmacy and purchase the drug, do you think that

     20    McKesson has a responsibility to protect the

     21    health and safety of those people?

     22                   MR. COLLINS:       Same objections.       Asked

     23    and answered, form.

     24                   THE WITNESS:       I can't answer for all of

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      1    McKesson.      I can just answer for New Castle.

      2    BY MR. BOGLE:

      3            Q      Sure.    Then I'll rephrase it that way.

      4    Do you think New Castle has such a responsibility?

      5                   MR. COLLINS:       Same objections.

      6                   THE WITNESS:       I don't -- can you repeat

      7    the question?

      8    BY MR. BOGLE:

      9            Q      Sure.

     10                   Do you think New Castle has a

     11    responsibility for the health and safety of the

     12    end user purchasing controlled substances

     13    distributed by McKesson?

     14                   MR. COLLINS:       Objection to form.

     15                   THE WITNESS:       I can't say that I can

     16    control that.

     17    BY MR. BOGLE:

     18            Q      Okay.    I didn't ask if control.           I asked

     19    if you had responsibility.

     20                   MR. COLLINS:       Objection to form.

     21                   THE WITNESS:       I can't be responsible for

     22    someone that purchases drugs.

     23    BY MR. BOGLE:

     24            Q      Okay.    So you think you have no

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      1    responsibility for ensuring that people are

      2    purchasing for legitimate medical purposes?

      3                   MR. COLLINS:       Objection to form,

      4    argumentative.        Calls for a legal conclusion.

      5                   THE WITNESS:       I can't answer to that.

      6    BY MR. BOGLE:

      7            Q      You don't know?

      8           A       I can't answer to that.

      9            Q      Okay.    When you say you can't answer

     10    that, what -- what's keeping you from answering

     11    that?

     12           A       I don't know.

     13            Q      Okay.    Have you heard of the term

     14    "diversion" when it comes to controlled

     15    substances?

     16           A       Yes.

     17            Q      What does that term mean to you?

     18           A       It's in the supply chain where the

     19    product could be diverted.           Like inbound trucks

     20    that come in, sometimes those are hijacked, or in

     21    the building to make sure security is there.

     22    There's a chance for diversion there.               And in the

     23    truck drivers, there's a chance for diversion

     24    there.      And to make sure that that supply chain is

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      1    intact.

      2            Q      Okay.    So you talked about ways that

      3    diversion can occur, but before we get there, what

      4    do you understand the term "diversion" to mean?

      5    When somebody diverts something when it comes to

      6    controlled substances, what does that mean to you?

      7           A       Loss of controlled substance.

      8            Q      Loss of product?

      9           A       Yes.

     10            Q      Okay.    Have you ever heard the term

     11    "diversion" used to mean the use of a controlled

     12    substance for an illegitimate purpose?

     13           A       No.

     14            Q      Never heard of that concept?

     15           A       No.

     16            Q      Okay.    You've talked a couple of times

     17    about compliance with Federal Regulations, and

     18    that you're familiar with the Controlled

     19    Substances Act, correct?

     20                   MR. COLLINS:       Objection.     Lacks

     21    foundation, calls for a legal conclusion.

     22                   THE WITNESS:       Is that the Code of

     23    Federal Regulations?

     24    BY MR. BOGLE:

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      1            Q      I'm just asking if you're familiar with

      2    the Controlled Substances Act.

      3           A       I'm not sure.

      4            Q      You're not -- have you ever heard that

      5    phrase used, Controlled Substances Act?

      6           A       No.

      7            Q      Never heard that?

      8           A       No.

      9            Q      Okay.    So is that -- have you ever read

     10    any portion of that act in conjunction with your

     11    responsibilities at McKesson?

     12           A       I would have to see it.          I'm not sure it

     13    was called the Controlled Substance Act.                I just

     14    know the Code of Federal Regulations.

     15            Q      Okay.    Do you have any familiarity as to

     16    whether the Controlled Substances Act was -- was

     17    and is designed to prevent diversion of controlled

     18    substances like opioids?

     19                   MR. COLLINS:       Objection.     Calls for a

     20    legal conclusion, form.

     21                   THE WITNESS:       I can't answer to that.          I

     22    don't know.

     23    BY MR. BOGLE:

     24            Q      Are you familiar with SOP 55?            Ever

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      1    heard of that?

      2           A       No.

      3            Q      Okay.    And SOP, I'm referring to

      4    Standard Operating Procedure, 55.              Does that help

      5    at all?

      6           A       I don't call it that.

      7            Q      Okay.

      8           A       I'm not familiar with that.

      9            Q      Okay.    I'm going to hand you what I'm

     10    marking as -- it's labeled as Exhibit 1.1555,

     11    being marked as Snider Exhibit 1.

     12                   (Snider Exhibit No. 1 was marked

     13                   for identification.)

     14                   MR. BOGLE:      There's yours, and there's

     15    an extra there too.

     16    BY MR. BOGLE:




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     13    BY MR. BOGLE:

     14            Q      Okay.    So would you agree that if New

     15    Castle complies with the Controlled Substances

     16    Act, that goes a long way in preventing diversion

     17    of opioids, right?

     18                   MR. COLLINS:       Objection to the form,

     19    vague, calls for a legal conclusion.

     20                   THE WITNESS:       I think it helps.

     21    BY MR. BOGLE:

     22            Q      Do you agree there is currently an

     23    opioid epidemic in this country?

     24           A       Yes.

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      1            Q      And do you agree that the diversion of

      2    controlled substances is a cause of that epidemic?

      3                   MR. COLLINS:       Objection.     Calls for a

      4    legal conclusion.         Foundation.

      5                   THE WITNESS:       You keep using the word

      6    "diversion."       In the control of McKesson New

      7    Castle, I believe if there were diversion, that

      8    would not help the opioid crisis.

      9    BY MR. BOGLE:

     10            Q      All right.      And the opioid crisis that

     11    we are dealing with today, do you understand was

     12    caused, in part, by diversion of controlled

     13    substances?

     14                   MR. COLLINS:       Objection.     Form, calls

     15    for a legal conclusion, lack of foundation.

     16                   THE WITNESS:       I don't know that.

     17    BY MR. BOGLE:

     18            Q      You don't know.

     19                   Are you aware that opioid overdoses are

     20    the leading cause of injury-related death in the

     21    United States?

     22                   MR. COLLINS:       Objection.     Form.

     23                   THE WITNESS:       No, I'm not.

     24    BY MR. BOGLE:

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      1            Q      Okay.    I'm going to hand you what I'm

      2    marking as Exhibit 1.264, also marked as Snider

      3    Exhibit 2.

      4                   (Snider Exhibit No. 2 was marked

      5                   for identification.)

      6                   MR. COLLINS:       Thank you.

      7    BY MR. BOGLE:

      8            Q      Do you see here, to introduce the

      9    document, at the top it says "E&C, U.S. House of

     10    Representatives, Committee on Energy and

     11    Commerce."

     12                   Do you see that?

     13           A       Yes.

     14            Q      And it's dated May 4, 2018?

     15           A       Yes.

     16            Q      And do you -- below that it says:

     17    "Regarding hearing entitled 'Combatting the Opioid

     18    Epidemic,' examining concerns about distribution

     19    and diversion."

     20                   Do you see that?

     21           A       Yes.

     22            Q      Okay.    And if you go to the second page

     23    of this document, the paragraph below the chart

     24    that starts with "The U.S. continues."               Do you see

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      1    that?

      2           A       Yes.

      3            Q      It says:     "The U.S. continues to

      4    experience an opioid epidemic which has worsened

      5    over the last two decades.           Opioid-involved

      6    overdose deaths are the leading cause of injury

      7    death in the U.S. and take the lives of 115

      8    Americans per day."

      9                   Do you see that?

     10           A       Yes.

     11            Q      Have you ever seen or heard of that stat

     12    before?

     13                   MR. COLLINS:       Objection.     Foundation.

     14                   THE WITNESS:       No.

     15    BY MR. BOGLE:

     16            Q      Any reason to dispute that?

     17                   MR. COLLINS:       Objection.     Foundation,

     18    form, asked and answered.

     19                   THE WITNESS:       I couldn't say.

     20    BY MR. BOGLE:

     21            Q      Okay.    It goes on to say:         "According to

     22    a recent report issued by the Centers for Disease

     23    Control and Prevention, prescription or elicit

     24    opioids were involved in nearly two-thirds of all

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      1    drug overdose deaths in the U.S. during 2016, a

      2    27.7 percent increase from 2015."

      3                   Do you see that?

      4           A       Yes.

      5            Q      And it says:       "In total, more than

      6    351,000 people have died since 1999 due to an

      7    opioid-involved overdose.           The crisis has become

      8    so severe that the average life expectancy

      9    declined in 2016 from the previous year largely

     10    because of opioid overdoses."

     11                   Do you see that?

     12           A       Yes.

     13            Q      Okay.    Have you ever heard that before,

     14    that the life expectancy in this country has

     15    declined largely because of opioid overdoses?

     16                   MR. COLLINS:       Objection.     Form,

     17    foundation.

     18                   THE WITNESS:       No.

     19    BY MR. BOGLE:

     20            Q      That's news to you?

     21                   MR. COLLINS:       Objection.     Argumentative.

     22                   THE WITNESS:       Yes.




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     17    BY MR. BOGLE:

     18            Q      I'm going to hand you what I'm marking

     19    as Exhibit 1.1464, also marked as Exhibit 3.

     20                   (Snider Exhibit No. 3 was marked

     21                   for identification.)

     22    BY MR. BOGLE:

     23            Q      This is a letter from the U.S.

     24    Department of Justice, Drug Enforcement

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      1    Administration, September 27, 2006.

      2                   Do you see that?

      3           A       Yes.

      4            Q      Okay.    Have you ever seen this letter

      5    before?

      6           A       No, I haven't.

      7            Q      You have not.       Okay.

      8                   Communications from the DEA regarding

      9    your responsibilities at New Castle, do those

     10    generally not make their way to you?

     11                   MR. COLLINS:       Objection.     Assumes facts

     12    not in evidence, argumentative, foundation, form.

     13                   THE WITNESS:       Yes, they made their way

     14    to us, and we would adopt -- adapt the manual and

     15    follow the SOPs and new procedures.

     16    BY MR. BOGLE:

     17            Q      Okay.    But you've never seen this

     18    letter?

     19           A       No, I'm sorry, I don't remember seeing

     20    it.

     21            Q      Well, let me ask you about a couple of

     22    things in here.

     23                   To start, it says:        "This letter is

     24    being sent to every commercial entity in the

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      1    United States registered with the Drug Enforcement

      2    Administration to distribute controlled

      3    substances.       The purpose of this letter is to

      4    reiterate the responsibilities of controlled

      5    substance distributors in view of the prescription

      6    drug abuse problem our nation currently faces."

      7                   Do you see that?

      8           A       Yes.

      9            Q      Okay.    And then the third paragraph on

     10    the first page which starts with "Distributors

     11    are," do you see that sentence?             It's the second

     12    sentence in that paragraph.

     13                   MR. COLLINS:       Third paragraph, the

     14    second sentence.

     15                   THE WITNESS:       Oh, okay.

     16    BY MR. BOGLE:

     17            Q      It says:     "Distributors are of course

     18    one of the key components of the distribution

     19    chain.      If the closed system is to function

     20    properly as Congress envisioned, distributors must

     21    be vigilant in deciding whether a prospective

     22    customer can be trusted to deliver controlled

     23    substances only for lawful purposes."

     24                   Do you see that?

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      1           A       Yes.

      2            Q      Do you agree with that statement?

      3                   MR. COLLINS:       Objection.     Form.

      4    Foundation.

      5                   THE WITNESS:       Yes.

      6    BY MR. BOGLE:

      7            Q      It says:     "This responsibility is

      8    critical as Congress has expressly declared that

      9    the illegal distribution of controlled substances

     10    has a substantial and detrimental effect on the

     11    health and general welfare of the American

     12    people."

     13                   Do you see that?

     14           A       Yes.

     15            Q      If you go to the second page here, I'm

     16    about three-quarters of the way down the page, the

     17    paragraph starting with "Thus."             Do you see that?

     18           A       Yes.

     19            Q      It says:     "Thus, in addition to

     20    reporting all suspicious orders, a distributor has

     21    a statutory responsibility to exercise due

     22    diligence to avoid filling suspicious orders that

     23    might be diverted into other than legitimate

     24    medical, scientific and industrial channels."

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      1                   Do you see that?

      2           A       Yes.

      3            Q      Okay.    But in 2006, I think we just

      4    talked about the fact that when a suspicious order

      5    was detected at your facility at least, it was

      6    filled, right?

      7                   MR. COLLINS:       Objection.     Form,

      8    foundation.

      9                   THE WITNESS:       Not always.

     10    BY MR. BOGLE:

     11            Q      Okay.

     12           A       I testified that not always.            We would

     13    cut orders down on occasion.

     14            Q      When you thought they had fat fingers.

     15    I think that was the term you used.

     16           A       Or they -- yeah, or they made a mistake.

     17            Q      Right.     But if you thought that they

     18    were ordering what they were -- intended to order,

     19    that order was filled, even though you're saying

     20    that a suspicious order report would have been

     21    provided to the DEA, right?

     22                   MR. COLLINS:       Objection.     Form.

     23                   THE WITNESS:       If the definition is off

     24    of that report, three times or the eight times,

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      1    yes.

      2    BY MR. BOGLE:

      3            Q      Then it would have been filled, right?

      4           A       Yes.

      5            Q      Okay.    And this letter from the DEA

      6    indicates that you shouldn't be filling those kind

      7    of prescriptions, right?

      8                   MR. COLLINS:       Objection.

      9    BY MR. BOGLE:

     10            Q      If you've identified them as suspicious.

     11                   MR. COLLINS:       Objection.     Foundation,

     12    compound, argumentative, calls for a legal

     13    conclusion.

     14                   THE WITNESS:       I don't see it that way.

     15    BY MR. BOGLE:

     16            Q      You don't think that's what that says?

     17           A       No.

     18            Q      Okay.    And the responsibility to avoid

     19    shipment of orders deemed suspicious by a

     20    distributor, that policy has always been in effect

     21    since the Controlled Substances Act was enacted in

     22    1970, right?

     23                   MR. COLLINS:       Objection.     Form, assumes

     24    multiple facts, legal conclusion.

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      1                   THE WITNESS:       I can't say that.        1970,

      2    I -- I don't know that.

      3    BY MR. BOGLE:

      4            Q      Well, do you think this -- this sentence

      5    I read to you here about avoiding filling

      6    suspicious orders was something new that was added

      7    to the regulations in '06?

      8                   MR. COLLINS:       Objection.     Calls for a

      9    hypothetical, speculation.

     10                   THE WITNESS:       I don't know.

     11                   MR. COLLINS:       Calls for a legal

     12    conclusion.

     13    BY MR. BOGLE:

     14            Q      You don't know?

     15           A       No.

     16            Q      And the next paragraph down, the last

     17    sentence says:        "Again, to maintain effective

     18    controls against diversion, as Section 823(e)

     19    requires, the distributor should exercise due care

     20    in confirming the legitimacy of all orders prior

     21    to filling."       Right?

     22           A       Yes.

     23            Q      Okay.    And you know that's not a new

     24    policy either, right?

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      1                   MR. COLLINS:       Objection.

      2    BY MR. BOGLE:

      3            Q      In '06.

      4                   MR. COLLINS:       Objection.     Vague, calls

      5    for a legal conclusion.

      6                   THE WITNESS:       I don't know that.

      7    BY MR. BOGLE:

      8            Q      Okay.    Do you have any disagreement that

      9    that's what the law required in '06?

     10                   MR. COLLINS:       Objection.     Calls for

     11    speculation, legal conclusion, asked and answered.

     12                   THE WITNESS:       I have no disagreement

     13    with that it's -- that it's written there.

     14    BY MR. BOGLE:

     15            Q      Okay.    And would you agree with the

     16    notion that reporting a suspicious order to the

     17    DEA and not filling it gives the DEA the

     18    opportunity to investigate that order without

     19    having the potential of getting into the public

     20    for potential diversion?

     21                   MR. COLLINS:       Objection, if that's a

     22    question.      Calls for a legal conclusion, it's

     23    compound, it's vague.

     24    BY MR. BOGLE:

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      1            Q      You can answer.

      2                   MR. COLLINS:       And it calls for

      3    speculation.

      4                   THE WITNESS:       I can't answer to that.          I

      5    don't know.

      6    BY MR. BOGLE:

      7            Q      Okay.    Do you think the DEA has the same

      8    ability to investigate and prevent diversion after

      9    you've filled the order versus if you hadn't

     10    filled it at all?

     11                   MR. COLLINS:       Objection.     Foundation,

     12    argumentative, compound.

     13                   THE WITNESS:       I know in New Castle, we

     14    had a relationship with the DEA, and I talked to

     15    them, they called me.          At one point the DEA agent

     16    in charge was my neighbor, so I knew them, and I

     17    knew if there was a problem, they would let me

     18    know.

     19                   MR. BOGLE:      Move to strike as

     20    nonresponsive.

     21    BY MR. BOGLE:

     22            Q      My -- my question simply was, if you

     23    fill an order that you deem suspicious, then it

     24    naturally is going to be harder to the DEA to

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      1    prevent diversion from that suspicious order as

      2    opposed to if you had reported it and not filled

      3    it at all, right?

      4                   MR. COLLINS:       Objection.     Closing

      5    argument.      Assumes facts not in evidence, calls

      6    for speculation, form, compound, vague.

      7                   THE WITNESS:       I don't know that.

      8    BY MR. BOGLE:

      9            Q      You don't know.

     10           A       No.




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      2    BY MR. BOGLE:

      3            Q      Okay.

      4                   MR. COLLINS:       Are you moving on to

      5    something else?

      6                   MR. BOGLE:      Yeah.

      7                   MR. COLLINS:       Can we take a short break?

      8    We've been going 70 minutes.

      9                   MR. BOGLE:      That's fine.

     10                   THE VIDEOGRAPHER:        The time is 9:42 a.m.

     11    We're going off the record.

     12                   (Recess.)

     13                   THE VIDEOGRAPHER:        The time is 9:55 a.m.

     14    We're back on the record.




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      5                   THE WITNESS:       According to Diane.

      6    BY MR. BOGLE:

      7            Q      It -- and that's actually according to

      8    Alexandra, right?

      9           A       Or Alex -- Alexandra, yes.

     10            Q      Okay.    What did she do at McKesson at

     11    that point in time?         What was her job?

     12           A       Sales.

     13            Q      Okay.    When Alexandra said something,

     14    was it generally accurate?

     15                   MR. COLLINS:       Objection.     Calls for

     16    speculation.

     17    BY MR. BOGLE:

     18            Q      Did you find her to be inaccurate

     19    frequently in her e-mails?

     20                   MR. COLLINS:       Objection.     Speculation.

     21                   THE WITNESS:       I can't -- I can't respond

     22    to her accuracy on e-mails.

     23    BY MR. BOGLE:



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     15            Q      Okay.    When you got this e-mail in

     16    December 2007, did you write back and say, What is

     17    this chart?       I don't know what this means?

     18                   MR. COLLINS:       Objection.     Calls for

     19    speculation, foundation.

     20                   THE WITNESS:       I don't know from 2007.

     21    BY MR. BOGLE:

     22            Q      Okay.    Well, I can tell you I looked,

     23    and I didn't see any e-mail from you that said, I

     24    don't understand what this chart means, guys.                  Can

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      1    somebody explain this to me?            I didn't see an

      2    e-mail like that.         I'm sure if your counsel has

      3    got one, they'll show it to you in his exam.

      4                   MR. COLLINS:       You don't have to answer.

      5    That's not a question.

      6    BY MR. BOGLE:

      7            Q      Do you have any reason to testify under

      8    oath today that you sent a response saying you

      9    don't understand what this chart means?

     10                   MR. COLLINS:       Objection.     Argumentative.

     11                   THE WITNESS:       I don't know what it means

     12    specifically.       I see what it says.

     13    BY MR. BOGLE:

     14            Q      Okay.

     15           A       I can't remember from 2007.




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       1    BY MR. BOGLE:

       2            Q      Let me ask you this:          If you had

       3    concerns about controlled substances going, and

       4    specifically opioids, going to a New Castle

       5    customer from 2000 to 2018, it was, first of all,

       6    your responsibility to raise that concern, right?

       7                   MR. COLLINS:       Objection.      Compound.

       8    Assumes facts not in evidence.

       9                   THE WITNESS:       Yes.

      10    BY MR. BOGLE:

      11            Q      Okay.    You knew that was your job,

      12    right?

      13           A       Yes.

      14            Q      Okay.    And ultimately, if you raised

      15    that concern, you were in a position of management

      16    at the DC when you did so, right?

      17           A       Yes.

      18            Q      Okay.    You're somebody that people

      19    listen to, right?

      20           A       I can't answer that.          I don't know.

      21            Q      You don't know if people listen to you?

      22           A       I'm sure they do.         Some do, some don't.

      23            Q      Okay.    As to Franklin's Pharmacy, for



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      23            Q      Okay.    Let's go back to Exhibit 1.1830,

      24    I think it's Exhibit 4 to the deposition.                 We were

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       1    talking about this --

       2                   MR. COLLINS:       I'm sorry, hold on a

       3    second.

       4                   MR. BOGLE:      Yeah, it's the PowerPoint

       5    deck you have right next to you, the Lifestyle

       6    Drug.

       7    BY MR. BOGLE:

       8            Q      We were talking about this a few moments

       9    ago.    I want to go to page .7 in this slide deck.

      10                   It's noted here, the slide is titled




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       8            Q      Sure.    I'm just talking about 1.1 right

       9    now.

      10           A       (Peruses document.)

      11                   Okay.    What was your question?

      12            Q      Yeah.    I'm just kind of orienting you at

      13    this point.       You said you wanted to look at it, so

      14    I didn't really have one.            I was trying to orient

      15    you to where we were at.

      16           A       Okay.




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      19    BY MR. BOGLE:

      20            Q      I'm going to hand you what I'm marking

      21    as Exhibit 1.1679, also Exhibit 7.

      22                   (Snider Exhibit No. 7 was marked

      23                   for identification.)

      24    BY MR. BOGLE:

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       1            Q      Are you familiar with Dave Gustin?

       2           A       Yes.

       3            Q      Okay.    He was in the regulatory

       4    department at McKesson, right?

       5           A       Yes.

       6            Q      Okay.    I want to take a look at page .2

       7    here, the second page.

       8                   MR. COLLINS:       I'm sorry.      If you need to

       9    take more time to review it to familiarize

      10    yourself with the document, please do.

      11    BY MR. BOGLE:




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      24            Q      Okay.    I'm also going to hand you what

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       1    I'm marking as 1.795, Exhibit 8 to your

       2    deposition.

       3                   (Snider Exhibit No. 8 was marked

       4                   for identification.)

       5    BY MR. BOGLE:




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      17    BY MR. BOGLE:

      18            Q      Is that your understanding?

      19                   MR. COLLINS:       Objection.

      20    Mischaracterization.

      21                   THE WITNESS:       Okay.

      22                   MR. COLLINS:       Foundation.

      23    BY MR. BOGLE:

      24            Q      Do you understand that to be the case?

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       1                   MR. COLLINS:       Objection.      The question

       2    is vague.

       3    BY MR. BOGLE:

       4            Q      Is that threshold increases should be

       5    customer generated?

       6           A       Yes.




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       2    BY MR. BOGLE:




      20    BY MR. BOGLE:




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      24    BY MR. BOGLE:

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       1            Q      Okay.    I'm going to hand you what I'm

       2    marking as Exhibit 1.1568, as Exhibit 9.

       3                   (Snider Exhibit No. 9 was marked

       4                   for identification.)

       5    BY MR. BOGLE:




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      13    BY MR. BOGLE:

      14            Q      Have they ever shown this document to

      15    you?

      16           A       I don't remember seeing this.

      17            Q      McKesson?      Anybody?     So nobody has ever

      18    talked to you about what the regional norms are

      19    for your -- the region that your distribution

      20    center covers --

      21                   MR. COLLINS:       Objection --

      22    BY MR. BOGLE:

      23            Q      -- for these controlled substances?

      24                   MR. COLLINS:       Objection.      The question

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       1    is compound and argumentative.

       2                   THE WITNESS:       No, I've never seen the

       3    Northeast for all these DCs:             Boston, New Castle,

       4    Rockhill, Buffalo.

       5    BY MR. BOGLE:

       6            Q      Okay.    You see this is an internal

       7    McKesson document, right?

       8                   MR. COLLINS:       Objection.      Lack of

       9    foundation.

      10    BY MR. BOGLE:

      11            Q      It says "McKesson" on it.

      12           A       I don't -- I don't have any knowledge.

      13            Q      It's got a Bates stamp produced from

      14    defense counsel for McKesson, coming from

      15    McKesson's files.         Do you see that?

      16                   MR. COLLINS:       Objection.      If you're

      17    testifying to that, that's fine.              He doesn't have

      18    any knowledge of that.

      19    BY MR. BOGLE:

      20            Q      Do you see that?

      21           A       I'm sorry.      Can you --

      22            Q      First of all, McKesson, you see that?

      23                   MR. BOGLE:      Can we highlight that?

      24                   THE WITNESS:       I think I'll testify that

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       1    I've never seen this document before.

       2    BY MR. BOGLE:

       3            Q      Yeah, I'm just asking.




      14                   MR. COLLINS:       Objection to the word

      15    "regionally."

      16    BY MR. BOGLE:

      17            Q      When you're out there conducting reviews

      18    of customers, your due diligence component of --

      19    of your job, you would agree with me that

      20    assessing whether the customer has significant

      21    business coming from pain clinics is relevant in

      22    assessing whether to increase an opioid threshold,

      23    right?

      24                   MR. COLLINS:       Objection.      Form,

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       1    foundation.

       2                   THE WITNESS:       I would assess all aspects

       3    of the customer.

       4    BY MR. BOGLE:

       5            Q      Right.     And specifically, whether they

       6    do substantial business with pain clinics is

       7    relevant to consider whether to increase an opioid

       8    threshold, right?

       9           A       I'm not sure.




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      14                   MR. COLLINS:       Objection.

      15    BY MR. BOGLE:

      16            Q      Do you see that's the date?

      17                   MR. COLLINS:       Objection.      Lack of

      18    foundation.       This witness hasn't testified he has

      19    any knowledge of this letter, nor to establish

      20    that.

      21                   THE WITNESS:       I have no knowledge of

      22    this.     I can't testify -- only to what it says

      23    here on the document.

      24    BY MR. BOGLE:

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       1            Q      That's where we're starting.            I'm going

       2    from there.

       3           A       Okay.

       4            Q      So that's what it says, right?

       5           A       I'm sorry, you asked me if it was

       6    supplied to the DEA or to -- from the DEA.                  I

       7    don't know that.




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       5            Q      I'm asking you a question.            Okay.    Just

       6    listen to my question.

       7           A       Okay.

       8            Q      When McKesson DC management or

       9    regulatory staff -- so DC management, that's you,

      10    right?

      11                   MR. COLLINS:       Objection.      You haven't

      12    established this witness has any firsthand

      13    knowledge of this document.

      14                   MR. BOGLE:      That's the whole purpose is

      15    that if he doesn't, that's a big problem.

      16                   MR. COLLINS:       The witness has already

      17    testified, and you're testifying as to what the

      18    contents are.       Typically it goes question and

      19    answer where you elicit information from a

      20    witness.

      21                   MR. BOGLE:      You're -- you're -- you're

      22    not even objecting.         You're just talking.

      23                   MR. COLLINS:       No, no, because you're

      24    ignoring the objection.           The witness has no

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       1    firsthand knowledge about the document.

       2    BY MR. BOGLE:




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       6    BY MR. BOGLE:




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      13                   MR. BOGLE:      Yeah.     Let me look real

      14    quick.      I think -- yeah.       We can take a break now

      15    is good.

      16                   MR. COLLINS:       Yep.

      17                   THE VIDEOGRAPHER:         The time is

      18    11:14 a.m.      We're going off the record.

      19                   (Recess.)

      20                   THE VIDEOGRAPHER:         The time is 11:29

      21    a.m., and we're back on the record.

      22    BY MR. BOGLE:

      23            Q      All right.      Mr. Snider, the -- your New

      24    Castle Distribution Center is in -- located in

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       1    Pennsylvania, right?

       2           A       Yes.

       3            Q      Okay.    But you guys service customers

       4    outside of the state of Pennsylvania, correct?

       5           A       Yeah -- oh, yes.

       6            Q      For example, you service customers in

       7    Ohio, right?

       8           A       Yes.

       9            Q      You service customers in West Virginia,

      10    right?

      11           A       Yes.

      12            Q      Okay.    And we talked a little bit about

      13    the opioid epidemic earlier in your deposition,

      14    but you understand that West Virginia is one of

      15    the states that's been hit hardest by the opioid

      16    epidemic, right?

      17           A       Yes.

      18            Q      And In fact, there have been

      19    congressional investigations into McKesson's

      20    conduct specific to pharmacies supplied in West

      21    Virginia.

      22                   Do you understand that?

      23                   MR. COLLINS:       Objection.      Form.

      24                   THE WITNESS:       I don't know that.         I'm

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       1    sorry.

       2    BY MR. BOGLE:

       3            Q      Okay.    You've never been told that?

       4           A       No.

       5            Q      Okay.

       6                   (Snider Exhibit No. 12 was marked

       7                   for identification.)

       8    BY MR. BOGLE:

       9            Q      I'm going to hand you 1.44, Exhibit 12

      10    to your deposition.

      11                   Okay.    This is noted at the top to be

      12    from the House of Representatives, Congress of the

      13    United States, February 15, 2008.              Do you see

      14    that?

      15           A       Yes.

      16            Q      Okay.    And it's a letter sent to

      17    Mr. John Hammergren.          That's the CEO of McKesson,

      18    right?

      19                   MR. COLLINS:       Objection.      Lack of

      20    foundation.

      21                   THE WITNESS:       Yes.

      22    BY MR. BOGLE:

      23            Q      Do you see where it's -- he's noted to

      24    be the recipient, "Dear Mr. Hammergren"?

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       1           A       I would think he got it.

       2                   MR. COLLINS:       Objection.

       3    BY MR. BOGLE:

       4            Q      Do you see that this was designed to be

       5    sent to him, right?

       6                   MR. COLLINS:       Objection.      The witness

       7    has no firsthand knowledge.

       8                   THE WITNESS:       I don't know anything

       9    about this document, so I can't answer to that.

      10    BY MR. BOGLE:

      11            Q      All right.      But you see it says, "Dear

      12    Mr. Hammergren," right?           Do you see that on the

      13    first page?

      14           A       Yeah, I see that.

      15            Q      You see that?

      16           A       Yeah.

      17            Q      Okay.    And so if you look at the first

      18    page of this document, it says in the second

      19    paragraph, "As part of our investigation."                  Do you

      20    see that?

      21           A       Yes.

      22            Q      It says:     "As part of our investigation,

      23    the Committee wrote to you on May 8, 2017,

      24    regarding your distribution practices generally,

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       1    and in particular with respect to West Virginia.

       2    As we mentioned in the letter, the opioid epidemic

       3    has been particularly devastating to West

       4    Virginia.      For example, in 2015, West Virginia had

       5    the highest opioid overdose death rate in the

       6    nation."

       7                   And then it goes on, the last sentence

       8    in that paragraph says:           "Court filings also

       9    indicate that between 2007 and 2012, McKesson

      10    distributed 46,179,600 doses of hydrocodone and

      11    54,304,980 doses of oxycodone, meaning that

      12    McKesson shipped a total of 100,484,580 doses to

      13    West Virginia during this time period."

      14                   Have you ever seen that kind of data

      15    talking about the number of hydrocodone and

      16    oxycodone pills McKesson distributed to West

      17    Virginia during this time frame?

      18           A       No, I haven't.

      19            Q      Okay.    You know that a fair amount of

      20    those pills that are being referenced here came

      21    from your distribution center, right?

      22                   MR. COLLINS:       Objection.      Lack of

      23    foundation.       Lack of firsthand knowledge.

      24                   THE WITNESS:       I don't know that.

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       1    BY MR. BOGLE:

       2            Q      Okay.    Well, you know from 2007 to 2012

       3    that -- that the New Castle Distribution Center

       4    was sending hydrocodone and oxycodone to

       5    pharmacies in West Virginia, right?

       6           A       Yes.

       7            Q      Okay.    So, therefore, you must present

       8    some of this number coming from New Castle, right?

       9                   MR. COLLINS:       Objection.      The question

      10    is vague.

      11                   THE WITNESS:       If I could answer that,

      12    the DEA has done audits on us.             We've never been

      13    found to do anything wrong.            New Castle has an

      14    exemplary record.

      15                   MR. BOGLE:      Move to strike as

      16    nonresponsive.

      17    BY MR. BOGLE:

      18            Q      My question simply was, of these 100

      19    million plus doses referenced here, you know that

      20    a portion of those came from your distribution

      21    center --

      22                   MR. COLLINS:       Objection.

      23    BY MR. BOGLE:

      24            Q      -- during this time frame, correct?

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       1                   MR. COLLINS:       The question was asked and

       2    answered last -- a moment ago.

       3    BY MR. BOGLE:

       4            Q      Correct?

       5                   MR. COLLINS:       Same -- same objection.

       6    Asked and answered.

       7                   THE WITNESS:       A -- a portion probably

       8    did.

       9    BY MR. BOGLE:

      10            Q      Well, you know they did, right?              From

      11    2007 to 2012, you know that the New Castle

      12    Distribution Center was servicing West Virginia

      13    pharmacies, right?         So it has to be part of this

      14    number, true?

      15                   MR. COLLINS:       Objection.

      16    BY MR. BOGLE:

      17            Q      You know that.

      18                   MR. COLLINS:       Objection.      The question

      19    is compound three different ways.              It's

      20    argumentative.        It's been asked and answered.

      21    BY MR. BOGLE:

      22            Q      You know that, don't you?

      23                   MR. COLLINS:       Objection.      Form.

      24                   THE WITNESS:       I've never seen this

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       1    document.      And we do have customers in West

       2    Virginia.

       3    BY MR. BOGLE:

       4            Q      Okay.    But you know that -- okay.            I

       5    think the document speaks for itself.




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      23    BY MR. BOGLE:

      24            Q      You turned them over for this

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       1    litigation, though, didn't you?

       2           A       Yes.

       3            Q      Okay.    All right.       I'm going to hand

       4    you -- marking as Exhibit 13, also Exhibit 1.1824.

       5                   (Snider Exhibit No. 13 was marked

       6                   for identification.)

       7    BY MR. BOGLE:

       8            Q      Okay.    And you see this is a document;

       9    the first page entitled "Mace's Pharmacy"; do you

      10    see that?

      11           A       Yes.

      12            Q      Okay.    Thereafter, this is all provided

      13    to us as one document.

      14                   Does this look like your file from

      15    Mace's Pharmacy for 2008 to 2010?

      16                   MR. COLLINS:       Objection.

      17                   THE WITNESS:       I don't know all of it.

      18    BY MR. BOGLE:

      19            Q      You don't -- excuse me?

      20           A       I don't know all of it.           I haven't seen

      21    it yet.

      22            Q      Okay.    Let's take a look at it.

      23           A       I'd have to go through them.

      24            Q      Okay.    Let's take a look at it.            First

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      22            Q      Okay.    And who is -- who is Jim

      23    Gavatorta?      What did he do?

      24           A       He was the executive salesperson.

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       1            Q      Okay.    And Brian Ferreira, I think you

       2    said was vice president/general manager?

       3           A       Yes.

       4            Q      What sort of oversight did Brian

       5    Ferreira provide for you?

       6           A       He was in charge of the distribution

       7    center over all the operations, my boss, and Jim

       8    reported to him directly.

       9            Q      Reported to him, you said?

      10           A       Yeah.




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       7                   MR. COLLINS:       Objection.      Lack of

       8    foundation.

       9    BY MR. BOGLE:

      10            Q      To investigate your concerns here.

      11                   MR. COLLINS:       Objection.      Lack of

      12    foundation.

      13                   THE WITNESS:       I'm sorry, I'd have to

      14    look through it.

      15    BY MR. BOGLE:

      16            Q      Okay.

      17           A       You want me to do that?




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      22            Q      Do you know about how many people live

      23    in Philippi, West Virginia?

      24           A       I don't.

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       1            Q      Is that something you guys would look at

       2    back in 2008 when evaluating a request like this?

       3           A       I can't --

       4                   MR. COLLINS:       Object -- objection to the

       5    term we -- "you would look at."

       6    BY MR. BOGLE:

       7            Q      Would you?

       8           A       No, I don't know.

       9            Q      Okay.

      10           A       I can't speculate on that.

      11            Q      Okay.    So if, for example, the city of

      12    Philippi, West Virginia, had fewer than 3,000

      13    people in it around this time frame, would that

      14    raise concerns to you about how much hydrocodone

      15    you're giving this company -- this pharmacy?

      16                   MR. COLLINS:       Objection.      Assumes facts

      17    not in evidence, lack of foundation.

      18                   MR. BOGLE:      Let's put it into evidence.

      19    Exhibit 14, 1.1892.

      20                   (Snider Exhibit No. 14 was marked

      21                   for identification.)

      22    BY MR. BOGLE:

      23            Q      Here is the Census Bureau data for

      24    Philippi, West Virginia, from 2010.               Do you see

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       1    there's a total population there noted to be 2,966

       2    people in 2010?

       3                   MR. COLLINS:       Objection.      Lack of

       4    foundation.       You haven't established this witness

       5    has any knowledge of this.

       6                   MR. BOGLE:      I think that's the problem.

       7    BY MR. BOGLE:

       8            Q      Do you not -- did you not know that?

       9           A       I did not --

      10                   MR. COLLINS:       Object --

      11                   THE WITNESS:       Sorry.

      12                   MR. COLLINS:       I'm sorry.      Please let me

      13    object.

      14                   Argumentative.        Object to the theatrics.

      15                   THE WITNESS:       I did not know there were

      16    2,966 people in the Philippi -- is that the whole

      17    area or is that just the town?

      18    BY MR. BOGLE:

      19            Q      It's the city.

      20           A       Okay.

      21            Q      You didn't know that.

      22           A       No.




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      20            Q      Yeah.

      21                   MR. BOGLE:      Let's go off the record.

      22    You can go through it.

      23                   MR. COLLINS:       No, no, we're going to

      24    stay on the record.

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       1                   MR. BOGLE:      We don't need to stay on the

       2    record.     If he wants time to look at it, he can,

       3    but don't stay on the record.             There's no such

       4    requirement.

       5                   MR. COLLINS:       Well, listen, to go off

       6    the record, you need an agreement.               So if you want

       7    to have him start leafing through documents, we're

       8    staying on the record.

       9                   MR. BOGLE:      Okay.     That's fine.       We'll

      10    do that.

      11    BY MR. BOGLE:

      12            Q      You can't point me to anything that

      13    shows that you requested any prescription data,

      14    can you?

      15                   MR. COLLINS:       He just asked to go

      16    through documents.         You want him to go through

      17    documents --

      18                   MR. BOGLE:      He's not going to blow

      19    through hours of my time looking at something that

      20    he should already be familiar with.

      21                   MR. COLLINS:       Well, no, he -- this isn't

      22    a 30(b)(6) deposition.

      23                   MR. BOGLE:      Doesn't have to be.

      24                   MR. COLLINS:       This is in his personal

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       1    capacity.      So, listen, if you want him to look

       2    through documents, he will do it for you, but it's

       3    on your time.

       4                   Take as much time as you want.

       5                   THE WITNESS:       (Peruses document.)

       6    BY MR. BOGLE:

       7            Q      We're in December 2009.

       8           A       (Peruses document.)

       9                   On the questionnaire on page .13, Dale

      10    reviewed the scripts.

      11            Q      .13?

      12           A       Yes.

      13            Q      So that's from June 2007, right?

      14           A       Yes.

      15            Q      Okay.    We're talking about December

      16    2009.

      17           A       Oh.

      18            Q      And a specific increase that they're

      19    saying -- in request in December 2009.

      20           A       (Peruses document.)

      21            Q      All right.      I've got too many documents

      22    to go through.        I'll strike the question and keep

      23    going.

      24                   Let's look at page .84.

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      20            Q      Okay.    But you do know the CSMP requires

      21    that, right, documentation?

      22           A       Not on my file, no.

      23            Q      That's not my question, sir.

      24                   The CSMP requires documentation

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       1    supporting any change made to a threshold based on

       2    business growth, right?

       3                   MR. COLLINS:       Objection.      Assumes facts

       4    not in evidence.

       5    BY MR. BOGLE:

       6            Q      We just looked at this a few minutes

       7    ago.

       8                   MR. COLLINS:       Objection.      Show it to him

       9    again.

      10    BY MR. BOGLE:

      11            Q      You don't recall that?

      12           A       I'm sorry.      I don't -- you'll have to

      13    repeat the question.

      14            Q      My question was, to support a threshold

      15    change based on business growth, supporting

      16    documentation is required under the CSMP, right?

      17                   MR. COLLINS:       Objection.      Assumes --

      18    BY MR. BOGLE:

      19            Q      As of 10/2010?

      20                   MR. COLLINS:       Objection.      Assumes facts

      21    not in evidence.

      22                   THE WITNESS:       I don't know that that

      23    wasn't provided.

      24    BY MR. BOGLE:

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       1            Q      Not my question, sir.          That was

       2    required, wasn't it?

       3                   MR. COLLINS:       Objection.      Form.

       4    BY MR. BOGLE:

       5            Q      Yes or no?

       6                   MR. COLLINS:       Objection.

       7    BY MR. BOGLE:

       8            Q      Or you don't know?

       9                   MR. COLLINS:       Objection to form.

      10                   THE WITNESS:       I don't know.




      22            Q      Okay.    So in the McKesson files that

      23    have been produced to us pertaining to this

      24    increase, we should find some supporting

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       1    documentation if the CSMP was followed, right?

       2    I'm not saying in your files or whose files.                  It

       3    should be in somebody's files.

       4           A       I don't know that.

       5            Q      You don't know.

       6           A       I can't testify to what's in their

       7    files.

       8            Q      I didn't ask -- I didn't say "is it."                I

       9    said "should it be."

      10           A       I can't --

      11                   MR. COLLINS:       Objection.      Calls for a

      12    legal conclusion.

      13                   THE WITNESS:       I can't testify.        It was

      14    electronic.

      15    BY MR. BOGLE:

      16            Q      Okay.    Was there a policy at McKesson in

      17    2010 to destroy evidence of due diligence review?

      18                   MR. COLLINS:       Objection.      Argumentative.

      19    Object to the theatrics.

      20    BY MR. BOGLE:

      21            Q      There's a question.

      22           A       Can you repeat the question?

      23            Q      Was there a policy written or unwritten

      24    at McKesson in October 2010 to destroy evidence of

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      17                   MR. COLLINS:       Objection.      We've been

      18    over this --

      19    BY MR. BOGLE:

      20            Q      Right?

      21                   MR. COLLINS:       -- a dozen times.

      22    Objection.      Mischaracterization.

      23    BY MR. BOGLE:

      24            Q      Right?

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      22                   (Snider Exhibit No. 16 was marked

      23                   for identification.)

      24    BY MR. BOGLE:

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       1            Q      Okay.    I'm going to hand you what is

       2    marked as 1.1812, Exhibit 16.




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      16            Q      Okay.    Do you know about how many people

      17    lift in Weston, West Virginia?

      18           A       A lot more than Philippi.

      19            Q      Think so?

      20           A       Yes.

      21            Q      Okay.    Would it surprise you that it's

      22    fewer than 5,000 people?

      23           A       In that area?

      24            Q      In Weston, West Virginia.

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       1           A       Yes.

       2            Q      That would surprise you?

       3           A       Yes.

       4                   (Snider Exhibit No. 17 was marked

       5                   for identification.)

       6    BY MR. BOGLE:

       7            Q      I hand you Exhibit 1.1909 marked as

       8    Exhibit 17.

       9                   It says:     "Population data for Weston,

      10    West Virginia," indicated to have a population of

      11    4,085 people.       Do you see that?

      12                   MR. COLLINS:       Objection.      Lack of

      13    foundation, lack of authentication, lack of

      14    knowledge.

      15                   THE WITNESS:       What year is this, please?

      16    BY MR. BOGLE:

      17            Q      This is the current data.

      18                   MR. COLLINS:       Yeah, I mean -- it's the

      19    internet, it's accurate.

      20                   THE WITNESS:       What's that?

      21                   MR. BOGLE:      Well, I'm sure you guys are

      22    going to produce census data that shows otherwise,

      23    so we'll just wait to see that.

      24                   MR. COLLINS:       I'll withdraw my

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       1    objection.

       2                   MR. BOGLE:      I would hope so.

       3                   MR. COLLINS:       It's a lack of foundation,

       4    lack of knowledge.

       5    BY MR. BOGLE:

       6            Q      4,085 people, right?          That's what it

       7    says.

       8           A       That's what it says right here.

       9            Q      Right.     That's wrong; is that your

      10    testimony?

      11                   MR. COLLINS:       Objection.      Lack of

      12    foundation.       You haven't established the witness

      13    has any knowledge about this issue.

      14                   MR. BOGLE:      Well, he said he thought it

      15    was wrong.

      16                   THE WITNESS:       I said I was surprised,

      17    and I am.      I'm sorry.

      18    BY MR. BOGLE:

      19            Q      You're surprised?

      20           A       Yes.




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      20                   MR. COLLINS:       I don't see it either.

      21    BY MR. BOGLE:

      22            Q      On .43.     Let me check my page here.

      23                   All right.      So, I'm sorry.        Actually,

      24    it's .44.      My fault.

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       1           A       Okay.

       2            Q      All right.      So this is -- let's go back

       3    and make sure we're talking about the same thing.




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      13                   MR. COLLINS:       Are you -- I'm sorry.

      14    We've been going 70 minutes.             Is this a good time

      15    to break?

      16                   MR. BOGLE:      That's fine.       I'm moving to

      17    a different pharmacy.          That's fine.

      18                   THE VIDEOGRAPHER:         The time is 12:47

      19    p.m.    We're going off the record.

      20                   (Lunch recess.)

      21                   THE VIDEOGRAPHER:         The time is

      22    1:35 p.m., and we're back on the record.

      23    BY MR. BOGLE:

      24            Q      All right, Mr. Snider, we're back from

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       1    lunch.     I wanted to pick up from where we were

       2    talking about before we broke.




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       4            Q      All right.      Now, Lumberport, you

       5    understand that's another very small city, right?

       6                   MR. COLLINS:       Objection.

       7    BY MR. BOGLE:

       8            Q      In West Virginia.

       9                   MR. COLLINS:       Objection to form.

      10                   THE WITNESS:       I don't remember.

      11    BY MR. BOGLE:

      12            Q      Okay.    Have you ever been to Lumberport?

      13           A       No, I don't remember being there.

      14            Q      Okay.

      15                   (Snider Exhibit No. 19 was marked

      16                   for identification.)

      17    BY MR. BOGLE:

      18            Q      I hand you Exhibit 19.

      19                   Actually, let me ask you this:             If the

      20    census data indicated there were fewer than a

      21    thousand people living in Lumberport, would you

      22    have reason to dispute that?

      23                   MR. COLLINS:       Again, foundation.

      24                   THE WITNESS:       I wouldn't know.        I'd have

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       1    no reason to dispute it.

       2    BY MR. BOGLE:

       3            Q      Okay.    Let's just take a look real quick

       4    then.      Exhibit 19, also marked as 1.1908, is what

       5    I'm handing you.

       6                   All right.      It's another printout with

       7    population and other data.            You see it's for

       8    Lumberport, West Virginia?

       9           A       Yes, I see.

      10            Q      And this is the most current data that I

      11    was able to obtain.         The population noted here for

      12    Lumberport is 881 people.            Do you see that?

      13           A       Yes.

      14            Q      Okay.    Do you have any specific

      15    knowledge that would contradict that being the

      16    most current population data for Lumberport?

      17                   MR. COLLINS:       Objection.      Foundation.

      18                   THE WITNESS:       I don't have any knowledge

      19    of the surrounding area of Lumberport.

      20    BY MR. BOGLE:

      21            Q      Okay.    All right.       So let's go back to

      22    Exhibit 1.1821, and I want to specifically look at

      23    .19 is the page.

      24           A       Can you give me that exhibit again?

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       1            Q      It's 1.1821, the page is .19.             The page

       2    should look like this (indicating).

       3                   MR. COLLINS:       He's referring to the

       4    numbers at the top.

       5                   THE WITNESS:       Oh, 1821.19, okay.

       6    BY MR. BOGLE:

       7            Q      Yeah.

       8           A       Thank you.

       9            Q      Are you at that page?

      10           A       Yes.




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      12           A       Yes, I do.

      13            Q      Okay.    And Belington, West Virginia, do

      14    you know anything about the population for that

      15    city?

      16           A       No, I don't.       I don't.     I don't think I

      17    remember being there.

      18            Q      Okay.    Any reason to dispute they have

      19    about 2,000 people in Belington, West Virginia?

      20                   MR. COLLINS:       Objection.      Foundation.

      21                   THE WITNESS:       I wouldn't dispute that.

      22    I don't know.

      23                   (Snider Exhibit No. 20 was marked

      24                   for identification.)

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       1    BY MR. BOGLE:

       2            Q      Okay.    And I want to look at some of the

       3    documentation on the Belington location.                 I hand

       4    you Exhibit 20, also marked as Exhibit 1.1822.




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      21            Q      Okay.    This is the document as produced.

      22    I'm giving you what was produced to us.

      23                   Do you see it in this?

      24           A       I didn't produce it.

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       1            Q      Huh?

       2           A       I didn't produce it.          I don't know.

       3            Q      I'm just asking you if you see the

       4    police report in this packet related to this

       5    pharmacy.

       6                   MR. COLLINS:       Objection.      Argumentative.

       7                   THE WITNESS:       I don't see it in here.

       8    BY MR. BOGLE:

       9            Q      Okay.    Are you aware that ultimately one

      10    of the owners of Best Care was prosecuted for

      11    illegally diverting opioids?

      12           A       I am aware that an owner of Best Care

      13    was prosecuted, and we cut them off.

      14            Q      Well, you're aware that there was a --

      15    there was an arrest and a prosecution for one of

      16    the owners of Best Care for diversion of opioid

      17    products, right?

      18                   MR. COLLINS:       Objection.      Foundation.

      19                   THE WITNESS:       I was aware that he was

      20    arrested.      That's all.

      21                   (Snider Exhibit No. 21 was marked

      22                   for identification.)

      23    BY MR. BOGLE:

      24            Q      Okay.    Let me hand you 1.1251,

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       1    Exhibit 21.

       2                   This is a news release from the U.S.

       3    Department of Justice, June 3rd, 2014, titled

       4    "Pharmacist charged with illegal distribution of

       5    painkillers."

       6                   Do you see that?

       7           A       Yes.

       8            Q      Have you ever seen this press release

       9    related to Best Care?

      10           A       No, I haven't.

      11            Q      Okay.    How did you become aware of the

      12    arrest then?

      13           A       I don't remember.         Probably the DRA.

      14            Q      Okay.    And if you look in the press

      15    release, it says:         "A West Virginia pharmacist has

      16    been indicted on charges that he dispensed

      17    prescription painkillers outside the scope of his

      18    professional practice."

      19                   And then it says:         "United States

      20    Attorney William Ihlenfeld, II, announced that

      21    Mario Blount, 51, of Bridgeport, West Virginia,

      22    was arrested this morning on charges of conspiracy

      23    to possess and distribute Schedule II controlled

      24    substances, distribution of oxycodone and a

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       1    failure to report the filling of a prescription."

       2                   Do you see that?

       3           A       Yes.

       4            Q      And it says:       "Blount, who was employed

       5    by Best Care Pharmacy, is alleged to have

       6    conspired with two other individuals over the last

       7    three years to distribute prescription painkillers

       8    for non-legitimate medical purposes."

       9                   Do you see that reference?

      10           A       Yes.

      11            Q      Okay.    And skip a paragraph, the next

      12    one says:      "The Greater Harrison County Drug Task

      13    Force executed search warrants in October 2013 at

      14    Best Care Pharmacy locations in the West Virginia

      15    towns of Bridgeport, Lumberport and Belington."

      16                   Do you see that?

      17           A       Yes.

      18            Q      And that's the three facilities we've

      19    just been looking at over the last hour or so,

      20    right?

      21           A       Yes.

      22            Q      And then the last paragraph on this page

      23    says:      "Mr. Blount abused the trust of the

      24    citizens of Bridgeport and the customers of Best

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       1    Care Pharmacy.        These arrests serve as a warning

       2    that the illicit distribution of controlled

       3    substances will not be tolerated in Harrison

       4    County, said Karl C. Colder, Special Agent in

       5    Charge, Drug Enforcement Administration,

       6    Washington, D.C. Field Division.              Over

       7    approximately three years, Mr. Blount illegally

       8    dispensed over 11,000 oxycodone and oxymorphone

       9    pills."

      10                   Do you see that?

      11           A       I see that, yes.

      12            Q      And you know McKesson was the supplier

      13    of those pills, right?

      14                   MR. COLLINS:       Objection.      Assumes facts

      15    not in evidence, foundation.

      16                   THE WITNESS:       I don't know that.

      17    BY MR. BOGLE:

      18            Q      Well, your New Castle facility was

      19    supplying Best Care with those very drugs during

      20    that very time period, right?

      21                   MR. COLLINS:       Objection.      Argumentative,

      22    assumes facts not in evidence.

      23                   THE WITNESS:       I don't know that.

      24    BY MR. BOGLE:

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       1            Q      You don't know if you were supplying

       2    them?

       3           A       No.

       4                   MR. COLLINS:       Objection.

       5    BY MR. BOGLE:

       6            Q      You don't know if Best Care Pharmacy was

       7    a customer of yours for 2010 to 2014?

       8                   MR. COLLINS:       Objection.      Argumentative.

       9    BY MR. BOGLE:

      10            Q      I'm just asking if you know or not.

      11                   MR. COLLINS:       Objection.      You just asked

      12    the same -- you've asked the same question two or

      13    three times.

      14                   THE WITNESS:       I don't know.

      15    BY MR. BOGLE:

      16            Q      You don't know?




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       1                   MR. COLLINS:       Objection.      Assumes facts

       2    not in evidence.        The question is compound.

       3                   THE WITNESS:       I don't -- I don't know

       4    that.      He could have other wholesalers.            I don't

       5    know that.

       6    BY MR. BOGLE:

       7            Q      You don't even know if he had other

       8    wholesalers?

       9           A       I don't remember that, no.

      10            Q      Okay.

      11           A       No.

      12            Q      Isn't that something you would need --

      13    that you would want to know?

      14                   MR. COLLINS:       Objection.      Calls for a

      15    legal conclusion, argumentative.

      16                   THE WITNESS:       I would want the director

      17    of Regulatory Affairs to know that.

      18    BY MR. BOGLE:

      19            Q      You would want him to know that.              It's

      20    okay, as the guy who is responsible for making

      21    sure that the New Castle isn't involved in

      22    diversion, you don't care if you know that or not?

      23                   MR. COLLINS:       Objection.      Argumentative.

      24    Object to the theatrics.

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       1                   THE WITNESS:       Can you restate the

       2    question, if you want?

       3    BY MR. BOGLE:

       4            Q      Well, I don't think there's anything

       5    wrong with that question.

       6                   MR. COLLINS:       Objection.      It's --

       7                   THE WITNESS:       Can you repeat it then?

       8    BY MR. BOGLE:

       9            Q      Yeah.




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      10                   MR. COLLINS:       Objection.      The

      11    question --

      12    BY MR. BOGLE:

      13            Q      Right?

      14                   MR. COLLINS:       Well, the question is now

      15    compound three times.

      16                   THE WITNESS:       I -- I answered that, yes.

      17    BY MR. BOGLE:

      18            Q      Yes, you were.        Okay.

      19                   And you said this pharmacy was cut off.

      20    They were cut off for about two weeks, right, Best

      21    Care?

      22                   MR. COLLINS:       Objection.      Assumes facts

      23    not in evidence, foundation.

      24                   THE WITNESS:       I don't remember.

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       1    BY MR. BOGLE:

       2            Q      You don't remember?

       3           A       No.

       4            Q      Okay.

       5           A       That would be the director of Regulatory

       6    Affairs.

       7            Q      Well, the pills come out of your

       8    facility, right?

       9                   MR. COLLINS:       Objection.

      10                   THE WITNESS:       I don't know that.         I

      11    answered to that.

      12    BY MR. BOGLE:

      13            Q      Does -- does Regulatory Affairs run your

      14    facility?

      15                   MR. COLLINS:       Objection.      Form.     The

      16    question is vague.

      17    BY MR. BOGLE:

      18            Q      I mean, do you defer all responsibility

      19    for the pills that go out of New Castle to

      20    Regulatory Affairs?

      21                   MR. COLLINS:       Objection.      Argumentative.

      22                   THE WITNESS:       No.

      23    BY MR. BOGLE:

      24            Q      Okay.    Because that's -- it's your job,

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       1    right?

       2                   MR. COLLINS:       Objection.

       3                   THE WITNESS:       What's my job, please?

       4    I'm not sure --

       5    BY MR. BOGLE:

       6            Q      To know what's leaving your facility and

       7    to whom it's going to and whether they can be

       8    trusted.

       9           A       I didn't --

      10                   MR. COLLINS:       Objection.      The question

      11    is compound, it's vague, calls for a legal

      12    conclusion, lacks foundation.

      13    BY MR. BOGLE:

      14            Q      I think it's a good question, so go

      15    ahead.

      16                   MR. COLLINS:       My objections stand.

      17                   THE WITNESS:       I stand by my record and

      18    what I do at the facility.

      19    BY MR. BOGLE:

      20            Q      That's -- that's not my question, sir.

      21           A       That's the best I can answer.

      22            Q      My question is, is it your testimony

      23    that your responsibilities as director of

      24    operations at New Castle does not include knowing

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       1    who you're selling to and what purpose they're

       2    using those pills for?

       3                   MR. COLLINS:       Objection.      Argumentative,

       4    compound, vague, calls for a legal conclusion.

       5                   THE WITNESS:       Can you repeat the

       6    question?

       7    BY MR. BOGLE:




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       7            Q      Okay.    I'm going to hand you what I'm

       8    marking as Exhibit 1.1794, also marked as

       9    Exhibit 22.

      10                   (Snider Exhibit No. 22 was marked

      11                   for identification.)

      12    BY MR. BOGLE:




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      19                   (Snider Exhibit No. 30 was marked

      20                   for identification.)

      21    BY MR. BOGLE:

      22            Q      Okay.    I'm going to hand you what's

      23    marked as Exhibit 30, 1.1905.

      24                   Do you see it's another DOJ press

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       1    release from November 2nd, 2018, just a few days

       2    ago.    And the title is "Johnstown pharmacist

       3    charged with -- charged in 109-count indictment

       4    with illegally creating bogus prescriptions and

       5    then dispensing the drugs."

       6                   Do you see that title?

       7           A       Yes, I do.

       8            Q      Okay.    Thereafter it says:          "A

       9    Johnstown, PA, pharmacist has been indicted by a

      10    federal grand jury in Pittsburgh on charges of

      11    dispensing and distributing controlled substances

      12    and conspiring to distribute and dispense

      13    controlled substances, by United States Attorney

      14    Scott W. Brady announced today."

      15                   Then it says:       "The 109-count indictment

      16    returned on October 30th named Joseph M. Martella,

      17    53, of Johnstown, Pennsylvania."

      18                   Then it says:       "According to the

      19    indictment presented to the court, Martella owned

      20    and operated Martella's Pharmacy located on

      21    Franklin Street in Johnstown.             The indictment

      22    alleges that Martella, a pharmacist, conspired

      23    with Dr. Peter James Ridella, who previously

      24    pleaded guilty, and with an individual known as JR

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       1    to create and submit unlawful prescriptions for

       2    oxycodone; oxycodone and acetaminophen, also known

       3    as Percocet; oxymorphone, also known as Opana;

       4    morphine sulfate, also known MS Contin; and

       5    hydrocodone and acetaminophen, also known as

       6    Vicodin, and then unlawfully dispensed those

       7    controlled substances to other persons."

       8                   Do you see that?

       9           A       I see that, yeah.




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       8            Q      Okay.

       9                   (Snider Exhibit No. 31 was marked

      10                   for identification.)

      11    BY MR. BOGLE:

      12            Q      I'm handing you Exhibit 31 to your

      13    deposition, 1.1904.

      14                   This is the actual indictment for

      15    Martella's.       And if you look to the point I just

      16    asked you about the covered period for this

      17    conduct, on page 10, do you see the paragraph

      18    starts there "From in and around"?

      19                   MR. COLLINS:       I'm sorry.      Can I have a

      20    proffer as to the relevance of this?               It certainly

      21    doesn't involve Summit County, it doesn't involve

      22    Cuyahoga County, it doesn't involve the cities of

      23    Cleveland or Canton.          Can I have a proffer as to

      24    the relevance?

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       1                   MR. BOGLE:      No.

       2                   MR. COLLINS:       Okay.

       3                   MR. BOGLE:      You're entitled to nothing

       4    of the sort.

       5                   MR. COLLINS:       Okay.    Well --

       6    BY MR. BOGLE:

       7            Q      "From in and around April 2011 and

       8    continuing thereafter to in and around June 2016

       9    in the Western District of Pennsylvania, the

      10    Defendant Joseph M. Martella," and it goes on to

      11    repeat sort of the allegations I talked about as

      12    far as the diversion of controlled substances,

      13    including opioids.

      14                   Do you see that?

      15           A       Yes, I see it.




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      18                   MR. COLLINS:       What's the question?

      19    BY MR. BOGLE:

      20            Q      Do you see that?

      21                   MR. COLLINS:       I'm sorry.      That's not a

      22    proper question.        You need to ask a legitimate,

      23    proper question.

      24                   MR. BOGLE:      No, I'm good with that one.

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       1    BY MR. BOGLE:

       2            Q      Do you see that?

       3                   MR. COLLINS:       See what?

       4    BY MR. BOGLE:

       5            Q      See that in the indictment?            The covered

       6    period was just a few months after the threshold

       7    that you said you upped.

       8                   MR. COLLINS:       Objection.

       9    Mischaracterization.

      10    BY MR. BOGLE:

      11            Q      For hydrocodone and methadone for this

      12    pharmacy.

      13                   MR. COLLINS:       Objection.      The question

      14    is compound.       It's also argumentative.

      15                   THE WITNESS:       I see what it says now.

      16                   MR. BOGLE:      I'm moving to a whole other

      17    topic area.       If we can take a break, and we'll

      18    reload documents.

      19                   THE VIDEOGRAPHER:         The time is 2:47 p.m.

      20    We're going off the record.

      21                   (Recess.)

      22                   THE VIDEOGRAPHER:         The time is 3:03 p.m.

      23    We're back on the record.

      24    BY MR. BOGLE:

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       1            Q      All right.      Mr. Snider, I want to shift

       2    gears to a different topic area.

       3                   We talked about earlier that Ohio was

       4    one of the states that customers -- that your New

       5    Castle Distribution Center services, right?

       6           A       Yes.

       7            Q      And you know that Ohio in recent years

       8    has had a high level of abuse and diversion of

       9    opioids within that state, right?

      10                   MR. COLLINS:       Objection.      Form.

      11    Foundation.

      12                   THE WITNESS:       I know it's in the papers,

      13    yes.

      14    BY MR. BOGLE:

      15            Q      Okay.    And you've read those stats,

      16    right?

      17           A       Yes.

      18            Q      On that topic.

      19                   MR. COLLINS:       Objection.      Form.

      20                   THE WITNESS:       Yeah.

      21    BY MR. BOGLE:

      22            Q      Okay.    I want to hand you what I'm

      23    marking as Exhibit 1.1434, so Exhibit 32.

      24                   (Snider Exhibit No. 32 was marked

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       1                   for identification.)

       2    BY MR. BOGLE:




      18            Q      Okay.    So that's a meeting you would

      19    have attended, right?

      20           A       What year is it?

      21                   MR. COLLINS:       Objection.

      22    BY MR. BOGLE:

      23            Q      2014.

      24                   MR. COLLINS:       Objection.      Form.

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       1                   THE WITNESS:       I don't know if I attended

       2    that one.

       3    BY MR. BOGLE:

       4            Q      Okay.    Is that a meeting you generally

       5    would attend?

       6           A       Normally, I do.        I'm not sure, in 2014,

       7    I was exempted because I believe I was -- that's

       8    when I was putting up a new distribution center in

       9    Delran.

      10            Q      Okay.    Would you have -- if you did not

      11    attend this specific session, would you generally

      12    have requested the materials that were passed

      13    out --

      14                   MR. COLLINS:       Objection.

      15    BY MR. BOGLE:

      16            Q      -- so you could catch up to speed?

      17                   MR. COLLINS:       Objection.      Form.

      18                   THE WITNESS:       I certainly would think

      19    so, yes.

      20    BY MR. BOGLE:

      21            Q      Okay.    So I want to look at the -- just

      22    one slide from this PowerPoint deck that was

      23    presented in 2014.         If you go to page .13.

      24                   Do you see there is a slide titled

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      24                   Do you see that?

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       1           A       Yes.

       2            Q      Okay.    So does this jog your memory at

       3    all about any discussions about Summit Pain

       4    Specialists?

       5           A       No.    I don't even know if we put them on

       6    as a customer, and I don't know Kim Diemand or

       7    Steve Kravec was a sales exec.             I don't really

       8    know him very well.

       9            Q      Okay.    And you said Acme Pharmacy

      10    doesn't ring a bell for you either, huh?

      11           A       No, I'm sorry.

      12            Q      Okay.

      13           A       We don't have them now, I know that.

      14            Q      I agree with that.

      15                   (Snider Exhibit No. 35 was marked

      16                   for identification.)

      17    BY MR. BOGLE:

      18            Q      Well, let's take a look then at the next

      19    exhibit, 1.1870, which is also Exhibit 35.

      20                   MR. COLLINS:       What number?

      21                   MR. BOGLE:      Exhibit 35.

      22                   MR. COLLINS:       Thank you.

      23    BY MR. BOGLE:

      24            Q      Okay.    And you see this is an e-mail

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      22    BY MR. BOGLE:

      23            Q      Do you think he didn't?

      24           A       I don't know.

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       1            Q      Okay.    Well, if you go back to

       2    Exhibit 1.1568, which is Exhibit 9.               Keep that one

       3    out there with the 70,000 doses.

       4           A       That what, keep --

       5            Q      Keep that next to you, but I want you to

       6    pull this one out too, Exhibit 9.

       7           A       Nine?

       8            Q      Yeah.

       9                   MR. COLLINS:       I think they should be in

      10    order.

      11                   THE WITNESS:       Well, kind of.

      12                   MR. COLLINS:       Let me get mine.

      13    BY MR. BOGLE:

      14            Q      You got Exhibit 9?

      15           A       Yes.




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       8            Q      Okay.    And you understand that when you

       9    get copied on something, you get included on the

      10    whole -- you get to see the whole chain before it,

      11    right?

      12                   MR. COLLINS:       Objection to the form.

      13    BY MR. BOGLE:

      14            Q      That's how e-mails work, right?

      15           A       I do know how e-mails work --

      16            Q      Right.

      17           A       -- but I don't remember this e-mail

      18    ever.

      19            Q      Okay.    That's fair.




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      18            Q      Okay.    Well, you're on the e-mail chain,

      19    right?      You're saying you never read this e-mail

      20    chain?

      21           A       I don't remember reading it, no.

      22            Q      Okay.    But are you saying you didn't

      23    read it definitively?

      24                   MR. COLLINS:       Objection.      Argumentative.

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       1                   THE WITNESS:       I'll testify that I don't

       2    remember reading it.          I don't even remember the

       3    Acme.

       4    BY MR. BOGLE:

       5            Q      Do you typically not read e-mails

       6    you're -- you're copied on?

       7                   MR. COLLINS:       Objection.      Argumentative.

       8                   THE WITNESS:       I can't say typically.

       9    BY MR. BOGLE:




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       8            Q      Sir, this was provided to us.             I can

       9    tell you -- if it's wrong, I guarantee you your

      10    counsel will establish it's wrong.               It ain't

      11    wrong.      Okay?

      12                   This is Acme Pharmacy.          This was

      13    provided to us from your counsel coming from

      14    McKesson's files.

      15           A       I'm --

      16                   MR. COLLINS:       Objection.

      17    BY MR. BOGLE:




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       8            Q      Not aware of that?

       9                   I hand you what I'm marking Exhibit 39,

      10    Exhibit 1.1895.

      11                   (Snider Exhibit No. 39 was marked

      12                   for identification.)

      13    BY MR. BOGLE:

      14            Q      This is an article from the Akron Beacon

      15    Journal/Ohio.com titled "Stow Pain Clinic closing

      16    after court upholds sexual imposition conviction

      17    against doctor accused of abusing patients,"

      18    posted August 11, 2016.           Do you see that?

      19           A       I see that, yes.

      20            Q      Okay.    The first sentence says:            "Summit

      21    Pain Specialists in Stow is permanently closed

      22    Monday after years of wrangling over a sex abuse

      23    scandal involving a doctor there."

      24                   Do you see that?

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       1           A       I see that, yes.

       2            Q      The third paragraph there says:              "But

       3    the Ohio Supreme Court on August 3 upheld the

       4    Summit County Common Pleas Court conviction a

       5    former doctor James Bressi, who once co-owned the

       6    business with former doctor Robert Stephen

       7    Geiger."

       8                   Do you see that?

       9           A       No.    Can you tell me where you are?

      10    I -- I was under what prompted the clinic to

      11    close.

      12            Q      Right here, sir, if you look at my

      13    finger.

      14           A       I'm sorry.      You skipped around.          I

      15    didn't see that.

      16            Q      You want me to reread that for you?

      17           A       Please.

      18            Q      So you can follow along.

      19           A       Please.

      20            Q      That's fair.

      21                   The portion I read says:           "But the Ohio

      22    Supreme Court on August 3 upheld the Summit County

      23    Common Please Court conviction of former

      24    doctor James Bressi, who once co-owned the

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       1    business with former doctor Robert Stephen Geiger.

       2    The clinic's troubles started in 2012 when

       3    patients began calling Stow police reporting they

       4    had been sexually abused by Bressi inside the pain

       5    clinic.     Stow police ultimately took reports from

       6    about 95 patients, including some in their 70s,

       7    who made similar claims according to a detective's

       8    court testimony."

       9                   Do you see that?

      10           A       I see that, yes.




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       2            Q      Okay.    Do you have any reason to dispute

       3    that pretty quickly after Summit Pain Specialists

       4    closed so did Acme 30?

       5                   MR. COLLINS:       Objection.      Foundation,

       6    form.

       7                   THE WITNESS:       I do not know or remember

       8    any of that.       I'm sorry.

       9    BY MR. BOGLE:

      10            Q      Okay.    Well, let's just close the loop

      11    here.

      12                   (Snider Exhibit No. 40 was marked

      13                   for identification.)

      14    BY MR. BOGLE:

      15            Q      Exhibit 40, 1.1911.         I pulled this off

      16    of Google before I came, pertaining to Acme

      17    Pharmacy in Stow, Ohio.           Same address as we just

      18    saw in the investigative report.

      19                   Do you see it's noted to be permanently

      20    closed?

      21                   MR. COLLINS:       Objection.      Foundation.

      22                   THE WITNESS:       If you say -- I don't see

      23    where it says that.         Please point to it.

      24    Permanently closed, yes.

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       1    BY MR. BOGLE:

       2            Q      Okay.    But again, this is not a customer

       3    you ever even recall dealing with at all, right?

       4           A       I don't think I was in New Castle at the

       5    time.      I was in Delran, New Jersey.

       6            Q      You weren't in New Castle at all from

       7    when you -- this account started getting serviced

       8    in 2012 to 2016 when that -- it closed?

       9           A       I was there in 2012, yes.

      10            Q      Okay.    For what period of time were you

      11    not at New Castle then?

      12           A       '14 and '15 or '15, '16.           I don't

      13    remember.

      14            Q      Who was running New Castle while you

      15    were gone?

      16           A       Andrew Moore, the VP/GM.

      17            Q      Andrew Moore?

      18           A       Yes.

      19            Q      Okay.    Did you have any communications

      20    concerning New Castle during that time period that

      21    you were in Delran?

      22           A       Not too many.

      23            Q      Okay.    There are many Giant Eagle

      24    Pharmacies that -- in Summit and Cuyahoga County

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       1    that New Castle supplies opioids to, correct?

       2           A       Supplied.      We don't have them any

       3    longer.

       4            Q      Okay.    When did you stop?

       5           A       About a year ago -- less than a year

       6    ago.

       7            Q      Okay.    Do you know why you stopped

       8    providing to them out of New Castle?

       9           A       They got another wholesaler.

      10            Q      Okay.    Who?

      11           A       Cardinal.

      12            Q      Okay.    All right.       So prior to losing

      13    that business, you said about a year ago, that was

      14    one of the larger customers you had in Summit and

      15    Cuyahoga counties, right?

      16           A       Yes.

      17                   MR. COLLINS:       Are we done with these?

      18                   MR. BOGLE:      Yeah.

      19    BY MR. BOGLE:




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       9            Q      Okay.    All right.       We're done with that.

      10                   MR. COLLINS:       When would be a good time

      11    to take a break?

      12                   MR. BOGLE:      It's fine now.        Yeah, if he

      13    needs it, that's fine.

      14                   THE VIDEOGRAPHER:         The time is 3:56 p.m.

      15    We're going off the record.

      16                   (Recess.)

      17                   THE VIDEOGRAPHER:         The time is 4:08 p.m.

      18    We're back on the record.

      19    BY MR. BOGLE:

      20            Q      Okay, Mr. Snider, we had stopped --

      21    broken after talking about some of the Giant Eagle

      22    Pharmacies, and I want to talk about a couple more

      23    of those from Summit and Cuyahoga County.

      24                   (Snider Exhibit No. 43 was marked

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       1                   for identification.)

       2    BY MR. BOGLE:

       3            Q      I'm going to hand you what's marked as

       4    1.1811, Exhibit 43.




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       8            Q      You do know that McKesson ultimately in

       9    2016 paid a $150 million fine for violations of

      10    the Controlled Substances Act, right?

      11                   MR. COLLINS:       Objection.      Calls for a

      12    legal conclusion.

      13    BY MR. BOGLE:

      14            Q      Do you know whether that occurred?

      15                   MR. COLLINS:       I'm sorry.      Lack of

      16    foundation.       Form.

      17    BY MR. BOGLE:

      18            Q      Do you know that?

      19           A       I heard it was a settlement with the

      20    DEA.

      21            Q      Okay.    Do --

      22           A       And that's what I was told.

      23            Q      You weren't told how much?

      24           A       I was told it was --

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       1            Q      For how much or for what for?

       2           A       I was told it was a settlement for

       3    $150 million.

       4            Q      Okay.    But you didn't -- you never asked

       5    what for?

       6           A       I'm sure I did.

       7            Q      Okay.    Do you remember being told what

       8    it was for?

       9           A       Not the people that know, no.

      10            Q      Okay.    I'm going to hand you --

      11    actually, strike that -- 1.1775, which I'm marking

      12    as Exhibit 50.

      13                   (Snider Exhibit No. 50 was marked

      14                   for identification.)

      15    BY MR. BOGLE:




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       9            Q      If you can go back to Exhibit 9 real

      10    quick.      And keep this one I'm looking at with you

      11    out too, but...

      12           A       Eight.

      13                   MR. COLLINS:       One more.      Getting warmer.

      14                   THE WITNESS:       10.

      15                   MR. COLLINS:       Getting warmer.

      16                   THE WITNESS:       11.    Sorry.    Where is 9?

      17    It has to be behind there.            I'm sorry.      15.    I

      18    don't see 9 here.         Let me look at that other --

      19    BY MR. BOGLE:

      20            Q      You can follow me up on the screen if

      21    you want.      It doesn't matter to me.

      22                   MR. COLLINS:       It's got to be in this

      23    stack.

      24                   THE WITNESS:       If it's okay with you, I

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       1    will go ahead and follow it here.

       2    BY MR. BOGLE:




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      20                   MR. BOGLE:      No further questions at this

      21    time.

      22                   MR. COLLINS:       Why don't we take five

      23    minutes?      I have some redirect.

      24                   THE VIDEOGRAPHER:         The time is 4:59 p.m.

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       1    We're going off the record.

       2                   (Recess.)

       3                   THE VIDEOGRAPHER:         The time is 5:12

       4    p.m., and we're back on the record.

       5                        REDIRECT EXAMINATION

       6    BY MR. COLLINS:

       7            Q      Good afternoon, Mr. Snider.

       8           A       Good afternoon.

       9            Q      I'm Kevin Collins.

      10           A       Yes.

      11            Q      Where do you currently live?

      12           A       I currently live in -- south of

      13    Youngstown, Ohio -- Poland, Ohio.

      14            Q      Can you keep your voice up.            I know it's

      15    been a long day.        One more time?

      16           A       Poland, Ohio.

      17            Q      Okay.    And what county is that?

      18           A       It's Mahoning County.

      19            Q      All right.      And where is that county

      20    related to Summit and Cuyahoga counties?

      21           A       It's about three or four counties over

      22    east, directly east towards the PA line.

      23            Q      And how long have you resided there?

      24           A       Twenty -- 18 years.

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       1            Q      All right.      Where were you born and

       2    raised?

       3           A       I was born in Coshocton, Ohio, and was

       4    raised in Cuyahoga Falls in Summit County.

       5            Q      Where did you go to high school?

       6           A       Cuyahoga Falls High School.

       7            Q      What did you do after high school?

       8           A       I went to Kent State University.

       9            Q      And after Kent State, when did you

      10    graduate?

      11           A       I graduated in -- I'm sorry -- 1978.

      12    Sorry.      That's a long time ago.

      13            Q      Okay.    And when did you start working

      14    for McKesson?

      15           A       I believe '79, '80.

      16            Q      Can you briefly describe the positions

      17    you've held, starting from your earliest position

      18    at McKesson to your current position and where --

      19    where you were located.

      20           A       Okay.    Sure.     Started in North Canton,

      21    Ohio.      I don't remember exactly how long, but I

      22    was first a trainee for a couple of months, and

      23    then a night supervisor after that couple of

      24    months of -- in there.          And then I did that for

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       1    quite a few years, and then I got promoted to

       2    operations manager there, and I'm not sure what

       3    year that was.        It would be on -- probably on my

       4    resume, but I don't remember.

       5                   And then after that, we built a new

       6    facility in Cincinnati, Ohio.             Fairfield, Ohio, to

       7    be exact.      And I ran -- I went there as the

       8    operations manager.         And I --

       9            Q      What year was that?

      10           A       1978.    No, '75.      I think so.

      11            Q      Would it be --

      12           A       No, no.     No, no.     I'm sorry.      I have the

      13    wrong -- '95 or '6.         Sorry about that.

      14            Q      I'm sorry.      Where did you go after that?

      15           A       After Cincinnati, I went back to North

      16    Canton, and then they promoted me to distribution

      17    center manager over in Sewickley, Pennsylvania,

      18    and after that I was promoted to manager over

      19    Sewickley and North Canton.            And we had closed

      20    Cincinnati, and then we closed North Canton, which

      21    was in Stark County, and we combined it into New

      22    Castle in 2000, and I was made the director of

      23    operations there.

      24            Q      So is it true that the New Castle

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       1    facility opened in 2000?

       2           A       Yes.    May of 2000.

       3            Q      And when it opened, what was your title?

       4           A       I don't remember if it was DCM or DO,

       5    but it was one of those, and I ran the

       6    distribution center.          We got -- started it up, and

       7    then I'm still there.          So I've always been in the

       8    Ohio/PA market.

       9            Q      What geographic territory does the New

      10    Castle distribution service -- distribution center

      11    service?

      12           A       Our distribution center services -- if I

      13    could say what towns, you might know, but on the

      14    east is State College, which is the -- central PA;

      15    on the north is Erie, Pennsylvania, which is the

      16    north side; northwest is -- is Cleveland; and then

      17    southwest would be down to the Zanesville area;

      18    and then south would be -- I believe it was

      19    Morgantown, Weston; and then back up to New

      20    Castle.     So we're in the geographic center.

      21            Q      How many employees do you manage?

      22           A       About 133 right now.

      23            Q      And how many employees are direct

      24    reports to you?

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       1           A       About ten.

       2            Q      In your almost 19 years of managing the

       3    New Castle Distribution Center, how would you

       4    describe the performance of the distribution

       5    center?

       6                   MR. BOGLE:      Object to form, vague and

       7    ambiguous.

       8                   THE WITNESS:       The distribution center

       9    won the DC of the year seven times, and that's

      10    twice as many as any other distribution center has

      11    received that, and that's based on the quality and

      12    the performance of the distribution center.

      13    BY MR. COLLINS:

      14            Q      Are there ever any internal audits

      15    performed about the operations of the distribution

      16    center at New Castle?

      17           A       Yes.    We have four or five kinds of

      18    audits.     The first kind is called a STARS audit

      19    that we do internally to match our SOPs to our

      20    performance.       And that's done -- right now it's

      21    done by an accounting team.            But before that, all

      22    those years, it was done by McKesson Regulatory

      23    Affairs folks.

      24                   Then we have a specific --

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       1            Q      I'm sorry.      Can you tell me how often

       2    that's done?

       3           A       Every two, two-and-a-half years.

       4            Q      Okay.    And the next -- the other audit

       5    you were going to describe?

       6           A       Yes.    Sorry.     The next audit is the DEA

       7    cyclic audit or any DEA unannounced audit.                  So

       8    we've had cyclic audits average two-and-a-half

       9    years.      They try to do them every two years,

      10    but -- so I believe there were four audits at the

      11    distribution center by the DEA, and they've all

      12    came out as -- a hundred percent as exemplary.                    So

      13    that was one of the other audits.

      14                   And then monthly, we did the triannual

      15    report, which was a DEA SOPs.             And then also we

      16    did a VAWD audit, which is the National Wholesale

      17    Association.       We do that every two to five years

      18    depending on our licensure.            We were one of the

      19    first DCs to get VAWD accreditation.

      20                   So when the DEA or we do our audits, we

      21    check our licensing and numerous other things, but

      22    the DEA has been in there a few times, and they've

      23    always had exemplary comments for New Castle and

      24    our team.

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       1                   (Snider Exhibit No. 52 was marked

       2                   for identification.)

       3    BY MR. COLLINS:

       4            Q      I'm going to hand you what's been

       5    premarked as Exhibit 52.

       6                   Mr. Snider, can I ask you to identify

       7    what is Exhibit 52?




      16            Q      Has the DEA ever complained to you about

      17    your operations at the New Castle Distribution

      18    Center?

      19                   MR. BOGLE:      Object to form.

      20                   THE WITNESS:       No.    They've always

      21    said -- I know Kurt Dittmer, who was there before.

      22    Patty Robson is there right now as interim agent

      23    in charge, and before that we had -- I knew Jim

      24    Crawford, and all of them have given us exemplary

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       1    records.

       2    BY MR. COLLINS:

       3            Q      Have you ever received -- or has the

       4    distribution center ever received any kind of

       5    minor infraction or citation from the DEA?

       6                   MR. BOGLE:      Object to form.

       7                   THE WITNESS:       Never.

       8    BY MR. COLLINS:

       9            Q      In terms of the New Castle Distribution

      10    Center operations, on average, what's the volume

      11    of the pharmaceuticals that you distribute per

      12    day?

      13           A       We do about 150,000 pieces a day to

      14    200,000, depending on the day.

      15            Q      And when you say "pieces," what do you

      16    mean?      Is that -- is that a tablet or --

      17           A       A bottle or pill, or even sometimes a

      18    case.      It depends on the selling unit.

      19            Q      150,000 pieces?

      20           A       Minimum.

      21            Q      And how many -- what portion of that is

      22    controlled substances?

      23           A       About fourteen to 15,000.           Total for

      24    Class II, III, IV and V.

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       1            Q      And in terms of opioids, what's the

       2    percentage of the product that is moved out of the

       3    distribution center each day that is an opioid?

       4                   MR. BOGLE:      Object to form as to time,

       5    vague and ambiguous.

       6                   MR. COLLINS:       And I -- fair enough.          I

       7    will -- Mr. Bogle's objection is well founded.

       8    BY MR. COLLINS:

       9            Q      Over the course of the last 20 years,

      10    can you tell me how the volume of opioids, what

      11    it's been relative to the rest of the product

      12    that's been moved?

      13                   MR. BOGLE:      Object to form.

      14                   THE WITNESS:       Two percent.

      15    BY MR. COLLINS:

      16            Q      What other products besides controlled

      17    substances does the distribution center

      18    distribute?

      19           A       We sell pharmaceuticals, legend drugs,

      20    over-the-counter merchandise, some medical

      21    devices, everything from syringes to -- we used to

      22    sell wheelchairs and that, but we got out of that

      23    business locally.         But we would sell anything you

      24    would see in a pharmacy.

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       1            Q      How significant in terms of the

       2    resources are controlled substance to your daily

       3    distribution needs?

       4                   MR. BOGLE:      Object to form.

       5                   THE WITNESS:       Currently we have about 10

       6    or 12 people that do nothing but the controls.                    I

       7    have two clerks that do nothing but the paper 222

       8    forms or sorting those out, and I have one that

       9    answers the phone and balances those edits.                  We

      10    send an edit every day to the DEA, electronically.

      11    I believe it's the Philadelphia office.

      12    BY MR. COLLINS:

      13            Q      Let's take an opioid that is received in

      14    your distribution center, and I'd like you to

      15    describe how it's received, how it's handled, how

      16    it's stored, and how it's then further

      17    distributed.

      18                   MR. BOGLE:      Objection.      Form, compound.




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      16    BY MR. COLLINS:

      17            Q      I'm going to hand you a series of

      18    photographs and ask you to identify them for me.

      19           A       Okay.

      20            Q      They've been premarked as Exhibits 2

      21    through -- 2 through 11.           So I'm going to hand you

      22    each of those, and I want you to tell me -- I'll

      23    hand them to you.         You can have a seat.

      24                   I'm sorry, 53 through 62.

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       1                   (Snider Exhibits No. 53 through 62

       2                   were marked for identification.)

       3    BY MR. COLLINS:

       4            Q      So I'm handing you 53.          Do you recognize

       5    what's depicted in Exhibit 53?

       6           A       Yes.

       7            Q      What is it?

       8           A       This is our control substance cage for

       9    Class III, IV and V merchandise.

      10            Q      And where is that perspective from?

      11           A       It's from the mezzanine level looking

      12    down.

      13            Q      And does that fairly and accurately

      14    depict the cage --

      15           A       Yes.

      16            Q      -- in its current state?

      17           A       Yeah, the bottom right is our

      18    self-closing door.         And then I'll -- which has a

      19    scanner on it so we know only people can enter

      20    that are accessed to that.            And there's quite a

      21    bit of -- well, you don't see the security here,

      22    but there's quite a bit there.

      23            Q      Let me hand you what's been premarked as

      24    Exhibit 54.       Can you identify what's depicted in

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       1    Exhibit 54?




      21            Q      Does that fairly and accurately depict

      22    the area that you just described?

      23           A       Yes.

      24            Q      I'm going to hand you what's been

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       1    premarked as Exhibit 55.           Describe what -- tell me

       2    if you identify -- can identify what's in that

       3    picture.




      11            Q      Let me show you what's been -- I'm going

      12    to -- actually, does that fairly and accurately

      13    depict the area that you just described?

      14           A       Yes.

      15            Q      I'm going to hand you what's been

      16    premarked as Exhibit 56.

      17           A       Thank you.

      18            Q      Do you recognize what's depicted in

      19    Exhibit 56?

      20           A       Yes, I do.

      21            Q      What is it?




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       8            Q      You -- you indicated this -- well, does

       9    this fairly and accurately depict the area you

      10    just described?

      11           A       Yes.

      12            Q      You indicated this is relatively recent.

      13    What did you have there before?




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       2            Q      Let me show you what's been premarked as

       3    Exhibit 57, and ask you to tell me whether you can

       4    identify that.




      10            Q      Does it fairly and accurately depict

      11    that area you just described?

      12           A       Yes.

      13            Q      I want to show you -- hand you what's

      14    been premarked as Exhibit 58.             Ask you to identify

      15    or tell me whether you can identify that.




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       3            Q      And when you say '13 or '14, 2013 and

       4    2014?

       5           A       Yes.

       6            Q      And who has access to this area?




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       7            Q      Let me show you what's been premarked as

       8    Exhibit 59.       Can you identify what's in Exhibit 59

       9    for me?




      17            Q      Does this fairly and accurately depict

      18    the area you just described along with these

      19    cages?

      20           A       Yes.

      21            Q      I show you what's been premarked as

      22    Exhibit 60.       Ask you to identify what's depicted

      23    there, if you can.



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      14            Q      And does it fairly and accurately depict

      15    the area you just described?

      16           A       Yes, it does.

      17            Q      I'm showing you what's been premarked as

      18    Exhibit 61.       Please tell me whether you can

      19    identify this area for me.




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      12            Q      And I don't recall if I already asked

      13    you, but does this fairly and accurately depict

      14    the area you just described?

      15           A       Yes.

      16            Q      I'm showing you what's been premarked as

      17    Exhibit 62.       Ask you to identify what's depicted

      18    in Exhibit 62.




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       9            Q      Other than that one occasion I think you

      10    said in 2010 where you had an employee that was

      11    involved in some theft, have you ever had any

      12    other type of incident at your distribution

      13    center?

      14           A       Yes, we had -- up in Cleveland, someone

      15    approached one of the drivers with a gun, and he

      16    actually yelled for them to get out, and they

      17    actually did.       But they asked him to open the back

      18    of his truck, which is always locked, and produce

      19    the totes.      And he actually used to run a

      20    Mini-Mart is how he did that.

      21                   And I know that because our delivery

      22    service has worked for me for almost 40 years, and

      23    it's a dedicated delivery service, and no other

      24    wholesaler has that.          And these guys carry

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       1    scanners so they can scan the totes.               We know when

       2    they bring them back how many totes were

       3    delivered.      They call if there's an error, they

       4    had ten instead of nine.           So we investigate that,

       5    et cetera.      But the drivers have been dedicated

       6    service only for McKesson totes, which I think is

       7    a differentiator for us.

       8            Q      Do you see any totes in this Exhibit --

       9    is it 62?




      16            Q      And does this fairly and accurately

      17    depict the -- sort of the various views of the

      18    cameras?

      19           A       Yes.




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      10            Q      Does the distribution center communicate

      11    with local DEA?

      12           A       Yes.

      13            Q      How often?

      14           A       Not as much right now, but they will

      15    call me.      I talked to Patty Robson last week.               And

      16    I also used to talk to Kurt Dittmer quite a bit

      17    before he retired.         And I've known these folks for

      18    a long time, and I would probably say at least

      19    twice a month there was some contact.

      20            Q      Has the DEA -- the local DEA ever given

      21    you a complaint about the operation of the

      22    distribution center?

      23                   MR. BOGLE:      Object to form.

      24                   THE WITNESS:       They've never.

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       1    BY MR. COLLINS:

       2            Q      I'm sorry?

       3           A       No, they have never.

       4            Q      In earlier questioning by Mr. Bogle, he

       5    mentioned a settlement agreement with the -- the

       6    Justice Department.         Do you recall that?

       7           A       Yes.

       8            Q      Do you know if the New Castle

       9    Distribution Center was mentioned in that

      10    settlement agreement?

      11           A       I know it was not.

      12                   (Snider Exhibit No. 64 was marked

      13                   for identification.)

      14    BY MR. COLLINS:

      15            Q      I'm going to show you what's been

      16    premarked as Exhibit 64.

      17                   Do you recognize that document?

      18           A       Yes.

      19            Q      What is it?

      20           A       It's the controlled substance compliance

      21    process.

      22            Q      And what's the purpose of this document?




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       1            Q      When the New Castle Distribution Center

       2    first became operational in 2000, did you have

       3    access to customer information in terms of who

       4    else was supplying them?

       5           A       No, I didn't.

       6                   MR. BOGLE:      Object to form.

       7    BY MR. COLLINS:

       8            Q      Do you have that now?

       9           A       The DRAs have all the access to that,

      10    yes.

      11            Q      And when did that start?

      12           A       I'm -- I'm not sure if that was 2008,

      13    but -- with the Lifestyle drugs, but I know that

      14    the fact that they could see the wholesalers'

      15    information, I think Izzy told me it was just

      16    within the last few years.

      17                   (Snider Exhibit No. 66 was marked

      18                   for identification.)

      19    BY MR. COLLINS:

      20            Q      I'm going to show you what's been now

      21    premarked as Exhibit 66, and ask you to identify

      22    it for me.

      23                   What is Exhibit 66?



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      12            Q      You've mentioned the director of

      13    Regulatory Affairs a number of times.                What's his

      14    or her role?

      15                   MR. BOGLE:      Object to form.

      16                   THE WITNESS:       They're vetting out the

      17    regulations and the customers that we either

      18    onboard or sell to.

      19    BY MR. COLLINS:

      20            Q      Given your almost four decades of

      21    experience with McKesson, including almost 20

      22    years as the director of operations of the New

      23    Castle Distribution Center, what do you think

      24    about all of these allegations about McKesson

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       1    fueling the opioid crisis?

       2                   MR. BOGLE:      Object to form.

       3                   THE WITNESS:       I spent most of my life in

       4    Summit County.        I know Cuyahoga County.          I'm

       5    probably the last Browns' fan you'll ever meet.

       6    So it means a lot to me, and I would never do

       7    anything willingly to create an opiate crisis.

       8    I -- I feel it is terrible and I feel bad for it,

       9    but I don't say that I caused it at -- at New

      10    Castle.

      11    BY MR. COLLINS:

      12            Q      Besides your handling of distribution of

      13    pharmaceuticals in a routine way, are you aware of

      14    any other things that you've done as a head of

      15    operations at the distribution center --

      16                   MR. BOGLE:      Object.

      17    BY MR. COLLINS:

      18            Q      -- that would impact the community?

      19                   MR. BOGLE:      Object to form.

      20                   THE WITNESS:       Yeah, I guess that's where

      21    I say about some of the things we do.

      22                   I know in -- I think it was Summit

      23    County, Stark County, there was a meningitis

      24    outbreak several years ago, and one of the high

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       1    school kids, one or two of them died, and so we

       2    had to provide the antidote or the medicine for

       3    that.     And I called in helicopters, and they

       4    landed in the parking lot and they distributed to

       5    the County Board of Health, I believe it was, and

       6    one of the hospitals.          And that's kind of what we

       7    do.

       8                   I also -- just recently one of my

       9    managers from UPMC Pittsburgh Hospital, they had a

      10    snake bite, and they must have been in central PA.

      11    I'm not sure how that happened.              But we -- he

      12    didn't know if the courier could get there quick

      13    enough, so he grabbed it and drove it down

      14    himself, and that saved the kid.

      15                   And then we were in McKesson Today for

      16    New Castle recently for the Washington Courthouse

      17    distribution center in Ohio that we provided and

      18    had a life-saving medicine, and my manager drove

      19    it halfway, they had someone pick it up, and it

      20    saved the patient.         It was a mother who was

      21    pregnant and needed this medicine to save the

      22    baby, and I know that's what we did.

      23                   It was written up in the McKesson Today,

      24    et cetera, and Bev did most of the work.                 I just

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       1    was standing there.         But that's the kind of thing

       2    we do that I wanted to make sure I got on the

       3    record.

       4                   MR. COLLINS:       I have no further

       5    questions.      You want to switch?

       6                   MR. BOGLE:      Yeah, just give me a couple

       7    of minutes.

       8                   THE VIDEOGRAPHER:         The time is 5:55 p.m.

       9    We're going off the record.

      10                   (Recess.)

      11                   THE VIDEOGRAPHER:         The time is 6:02

      12    p.m., and we're back on the record.

      13                        RECROSS-EXAMINATION

      14    BY MR. BOGLE:

      15            Q      All right.      Mr. Snider, I have a few

      16    follow-up questions for you.

      17                   You made reference to opioids being

      18    2 percent of the overall volume at your

      19    distribution center.          Do you recall that

      20    testimony?

      21           A       Yes.    At one time, yes.

      22            Q      Yeah, that number has not been stagnant,

      23    right?      For example, when you started in 2000,

      24    that number increased over time, didn't it?

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       1                   MR. COLLINS:       Objection.      Vague.

       2                   THE WITNESS:       Over time, yes, it did.

       3    BY MR. BOGLE:

       4            Q      Right.     So when you say that opioids

       5    were 2 percent of the total volume at New Castle,

       6    you're not representing to our jury that that was

       7    true for the entire period of 2008 -- or 2000 to

       8    present, right?

       9           A       No.    I just got the data from present.

      10            Q      From today?

      11           A       Recently.

      12            Q      Right.     So, for example, you have the

      13    2018 data is what you're talking about.

      14           A       Yes.

      15            Q      Okay.    And it was higher than that, for

      16    example, in 2010.

      17           A       I don't -- I don't know that, what it

      18    was.

      19            Q      You don't know.        So you didn't check

      20    anything other than 2018.

      21           A       Correct.

      22            Q      Okay.    You provided some -- some

      23    testimony about -- to the effect that the DEA has

      24    never had any complaints about any activities

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       1    involving New Castle.          Is that right?

       2           A       Yes.

       3            Q      Okay.    Have you reviewed any of the DEA

       4    and DOJ letters that led to the -- the $150

       5    million settlement agreement?

       6           A       I looked at them, yes, briefly.

       7            Q      Did you just look at the settlement

       8    agreement, or did you look at any of the internal

       9    letters that led up to that?

      10           A       I looked at the distribution centers

      11    listed.

      12            Q      Okay.    Did you review the letters in

      13    detail beyond that?

      14           A       No.

      15            Q      Okay.    So, for example, if the -- some

      16    of the letters from the DEA indicate that they

      17    found nationwide and systemic violations regarding

      18    controlled substance monitoring at McKesson,

      19    that's something you were not aware of when you

      20    provided that testimony, right?

      21                   MR. COLLINS:       Objection.      Assumes facts

      22    not in evidence.        Lack of foundation.

      23    BY MR. BOGLE:

      24            Q      Right?

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       1           A       Can you ask me -- I'm not sure what you

       2    mean by --

       3            Q      Sure.

       4           A       -- "provided that testimony."

       5            Q      You provided testimony there's been no

       6    complaints about -- about New Castle from the DEA.

       7           A       Yes.

       8            Q      And my question to you was, did you

       9    review any of these letters from the DEA to assess

      10    whether they made any comments about the fact that

      11    they found nationwide and systemic violations as

      12    to McKesson's suspicious order monitoring

      13    programs?

      14                   MR. COLLINS:       Object to form.

      15                   THE WITNESS:       I did not discuss it with

      16    the DEA.

      17    BY MR. BOGLE:

      18            Q      No, I'm talking about in the letters.

      19    Did you see that in the letters anywhere?

      20                   MR. COLLINS:       Objection.      I'm not

      21    sure --

      22    BY MR. BOGLE:

      23            Q      All right.      Let's just take a look at

      24    one.

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       1           A       No, I didn't.

       2            Q      Okay.    Let's take a look at one.

       3           A       I thought you said did I review it with

       4    the DEA.      That's what I heard.

       5            Q      All right.      That's fine.

       6                   (Snider Exhibit No. 67 was marked

       7                   for identification.)

       8    BY MR. BOGLE:

       9            Q      Exhibit 67, I'm going to hand you here,

      10    also marked as 1.1443.




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      10            Q      Okay.    When you looked through the DEA

      11    correspondence prior to testifying today, do you

      12    recall reading that statement?

      13                   MR. COLLINS:       Objection.      Lack of

      14    foundation.       Form.

      15                   THE WITNESS:       No, I don't.

      16    BY MR. BOGLE:

      17            Q      You don't.      Okay.




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       7            Q      Okay.    Do you recall seeing that in the

       8    letter that you reviewed?

       9                   MR. COLLINS:       Objection.      Asked and

      10    answered.

      11                   THE WITNESS:       No.

      12    BY MR. BOGLE:

      13            Q      You reviewed quite a few photos of the

      14    New Castle Distribution Center.              Do you recall

      15    that?

      16           A       Yes.

      17            Q      Okay.    Now, those photos all pertain to

      18    security measures contained within your facility

      19    at New Castle, right?

      20           A       Yes.

      21            Q      Okay.    None of those photos pertain to

      22    anything that involved trying to make sure that

      23    the controlled substances once they are sold get

      24    into the right hands, right?

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      18            Q      You talked too about these -- these

      19    totes that the controlled substances are carried

      20    in.    Do you recall discussing that generally?

      21           A       Yes.

      22            Q      And I think you said something about

      23    having dedicated drivers delivering these totes,

      24    and that was something that you thought

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       1    differentiated McKesson from other wholesalers.

       2    Am I summarizing that fairly?

       3           A       Yes.

       4            Q      Okay.    Now, you've had at New Castle

       5    problems with lost totes that carried controlled

       6    substances in them, right?

       7                   MR. COLLINS:       Objection.      Form.

       8                   THE WITNESS:       No.

       9    BY MR. BOGLE:

      10            Q      You've never lost a tote?

      11           A       I didn't say that.         We don't have a

      12    problem with it.

      13            Q      Okay.    Well, we talked about Giant

      14    Eagle, for example, earlier, right, and you recall

      15    back in 2014 losing several totes that included

      16    controlled substances for deliveries to Giant

      17    Eagle, right?

      18           A       No, I don't.

      19            Q      You don't?

      20           A       Nope.

      21            Q      Okay.    All right.

      22                   (Snider Exhibit No. 68 was marked

      23                   for identification.)

      24    BY MR. BOGLE:

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       1            Q      I'm going to hand you Exhibit 68, also

       2    marked as 1.1878.




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      15            Q      That contained controlled substances.

      16           A       If you give me time to read it, I will.

      17    I'm not -- it's HBC --

      18            Q      Sure.    It's a one-page e-mail.           Go

      19    ahead.

      20           A       Sorry, there's other pages here.              Okay.

      21    (Peruses document.)




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      20                   MR. COLLINS:       Objection.      Lack of

      21    foundation.

      22                   THE WITNESS:       Yes, from -- from someone

      23    else.

      24    BY MR. BOGLE:

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       1            Q      Right.     But it's -- it's certainly these

       2    delivery drivers -- either delivery drivers or HBC

       3    that lost these totes.          We can agree on that,

       4    right?

       5           A       Yes.

       6            Q      Okay.

       7           A       Also there's no manifest to show that.

       8    So the -- I'm sure that Greg Carlson and the Giant

       9    Eagle folks reported that to the DEA, that they

      10    have missing totes, or I don't even know that they

      11    found them at another store or where --

      12            Q      Right.     You don't know either way,

      13    right?

      14           A       No.

      15            Q      But you do agree with me this discusses

      16    missing totes?

      17                   MR. COLLINS:       Objection.      The question

      18    is vague.

      19    BY MR. BOGLE:

      20            Q      Right?

      21           A       Yeah.

      22                   MR. COLLINS:       The question is vague.

      23    BY MR. BOGLE:

      24            Q      Now, you talked about McKesson always

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       1    having standard operating procedures for

       2    controlled substances.

       3                   Do you recall testifying to that a few

       4    minutes ago?

       5           A       Yes.




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      13            Q      Okay.    Now, you said that there were

      14    reports sent to the DEA, unusual order reports, I

      15    think you called them, from 2000 to 2006.                 Do you

      16    recall that?

      17           A       Yes.

      18            Q      Do you have any documentary proof of

      19    that at this point in time?

      20           A       No.

      21            Q      And you also said that at some point in

      22    time, the D -- a DEA agent told you on the phone

      23    that he didn't want daily unusual reports anymore.

      24    Do you recall that?

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       1           A       Yes.

       2            Q      Do you have any documentary proof of

       3    that today?

       4           A       I don't have the e-mail.           He actually

       5    put it in writing for me.

       6            Q      But you don't have that, right?

       7           A       No, not from two -- whatever year that

       8    was.

       9            Q      So we don't have any way to verify by

      10    documentation either of those statements, do we?

      11                   MR. COLLINS:       Objection.      It's a

      12    mischaracterization.          You can ask the DEA.

      13                   THE WITNESS:       From Kurt Dittmer would be

      14    the only way to verify that.

      15    BY MR. BOGLE:

      16            Q      We don't have any documentary evidence

      17    that you can provide us as to providing reports

      18    from 2000 to 2006, number one, right?

      19           A       Number one?

      20            Q      First thing.       You can't point me to any

      21    documents that show that you actually did what you

      22    said you did?

      23           A       No, I don't have those e-mails from 2004

      24    or whatever year it was.

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       1            Q      And you don't -- and you don't have any

       2    e-mail that you can show me or to the jury or to

       3    anybody else about the DEA agent specifically

       4    calling you and telling you that you didn't need

       5    to provide daily reports anymore, correct?

       6           A       I don't have that.

       7            Q      You were asked about obtaining data from

       8    other -- strike that.

       9                   You talked about being able to obtain

      10    data regarding your customers receiving controlled

      11    substances from other manufacture -- other --

      12    other wholesalers.         Do you recall that?

      13           A       Yes.

      14            Q      And you talked about when you thought

      15    that was available, and I won't go back into the

      16    exact years, but you recall talking about a

      17    timeline --

      18           A       Yes.

      19            Q      -- when you thought that was available,

      20    right?

      21           A       Yes.

      22            Q      The bottom line is, McKesson at all

      23    times was able to ask the customer for that data,

      24    right?

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       1                   MR. COLLINS:       Objection.      Compound,

       2    argumentative.

       3                   THE WITNESS:       I don't know that.

       4    BY MR. BOGLE:

       5            Q      You don't know whether McKesson at all

       6    times could ask their own customers, Listen, give

       7    me all of the drugs that you're getting from all

       8    the wholesalers, give me proof of that, I want to

       9    see?

      10           A       From 2000 on, I don't know that -- if

      11    that was legally feasible.

      12            Q      Legally feasible?

      13           A       Yeah, I don't know --

      14            Q      You've asked --

      15           A       -- if we could legally give them the

      16    other wholesalers' information.

      17            Q      Do you recall anybody ever asking, that

      18    you were aware of?

      19                   MR. COLLINS:       Objection to form.

      20                   THE WITNESS:       Yes.

      21    BY MR. BOGLE:

      22            Q      You recall somebody asking for it?

      23           A       Yes.

      24            Q      And somebody saying that was legally not

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       1    possible?

       2           A       No.

       3            Q      Okay.    So -- but what you do know is you

       4    guys can get it today, right?

       5           A       I -- yes, as he showed me.

       6            Q      Any -- are you aware of any changes to

       7    the laws that would allow it today that didn't

       8    exist before?

       9                   MR. COLLINS:       Objection.      Calls for a

      10    legal conclusion, among other things.

      11                   THE WITNESS:       I don't know anything

      12    about the laws, no, right now on that.

      13    BY MR. BOGLE:

      14            Q      Okay.    Well, you talked about the fact

      15    that you guys could get it.            I'm just trying to

      16    follow up on that.

      17           A       It depends --

      18                   MR. COLLINS:       I'm sorry, is that -- I'm

      19    not sure that's a question.

      20                   MR. BOGLE:      No, it's not.       It's just a

      21    comment.

      22    BY MR. BOGLE:

      23            Q      Now, you talked about blocked orders and

      24    suspicious order reports generally.               Do you recall

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       1    that?

       2           A       Yes.




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      15                   MR. COLLINS:       Objection.      Lack of

      16    foundation what this --

      17    BY MR. BOGLE:

      18            Q      So you don't know what this report is

      19    even about?

      20                   MR. COLLINS:       I'm sorry, let me finish

      21    my objection.       Lack of foundation.          You haven't

      22    established this witness's knowledge as to what

      23    this document --

      24    BY MR. BOGLE:

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       1            Q      Geez, it should, man.          I mean, you don't

       2    know when orders were blocked from your

       3    distribution center?

       4                   MR. COLLINS:       You don't have to answer

       5    that.

       6    BY MR. BOGLE:

       7            Q      No, you do.      You don't know that?

       8                   MR. COLLINS:       Actually -- actually, lack

       9    of foundation.        You haven't established this

      10    witness has any knowledge about this document.                   He

      11    keeps telling you he doesn't know anything about

      12    the document, and you keep asking him questions

      13    about a document he doesn't know anything about.

      14                   THE WITNESS:       I don't know anything

      15    about this document, and you say it's a blocked

      16    item document, and this cover page is on it, but

      17    I've never seen this before.

      18    BY MR. BOGLE:

      19            Q      I put the cover page on there.

      20    Everything else --

      21           A       Oh --

      22            Q      -- is provided to us by --

      23           A       -- I did not know that.

      24            Q      That's a summary of the data included in

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       1    there.

       2           A       If you say so, but I don't -- can't

       3    testify to that.

       4            Q      Okay.    You have no reason to dispute the

       5    accuracy of either of those statements, do you, on

       6    the first page?

       7                   MR. COLLINS:       Objection.      Lack of

       8    foundation.

       9    BY MR. BOGLE:

      10            Q      Do you?

      11                   MR. COLLINS:       Objection.      Lack of

      12    foundation.

      13                   THE WITNESS:       I don't trust what you put

      14    on here.

      15    BY MR. BOGLE:

      16            Q      You don't trust what I put on there?

      17           A       No.

      18            Q      Show me where I'm wrong in the document.

      19           A       I don't know the document.

      20            Q      Okay.    You don't have any idea, right?

      21                   MR. COLLINS:       Objection.      Argumentative.

      22                   MR. BOGLE:      No further questions.

      23                   MR. COLLINS:       Actually I have a couple

      24    of follow-ups.

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       1                         REDIRECT EXAMINATION

       2    BY MR. COLLINS:




      12            Q      All right, Exhibit 68, Mr. Bogle

      13    questioned you about this allegedly lost tote.

      14                   Did McKesson ever lose any totes in

      15    connection with servicing whatever customer this

      16    is?

      17           A       No.

      18            Q      Do you have any idea what this -- what

      19    is being discussed in this e-mail?

      20           A       This is --

      21                   MR. BOGLE:      Object to form.

      22                   THE WITNESS:       This is their Giant Eagle

      23    warehouse that they contracted with SSD to fill --

      24    to deliver orders, and their due diligence would

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       1    have been their manifest.

       2                   But Barb is trying to find out because

       3    she's doing due diligence to make sure controls

       4    don't get out on the street.

       5    BY MR. BOGLE:

       6            Q      Does this document reflect that McKesson

       7    lost totes?

       8           A       No.

       9                   MR. BOGLE:      Object to form.

      10                   MR. COLLINS:       No further questions.

      11                   MR. BOGLE:      All right, we're done.

      12                   THE VIDEOGRAPHER:         All right.      The time

      13    is -- sorry, anything else?

      14                   MR. BOGLE:      No, I'm good.

      15                   MR. COLLINS:       We're good.

      16                   THE VIDEOGRAPHER:         Anybody on the phone

      17    either?

      18                   I just want to make sure --

      19                   MR. COLLINS:       I didn't even know -- was

      20    there anybody participating by phone?

      21                   THE VIDEOGRAPHER:         The time is

      22    6:23 p.m., November 8, 2018.

      23                   Going off the record, completing the

      24    videotaped deposition.

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       1                   (Whereupon, the deposition of

       2                   BLAINE M. SNIDER was concluded

       3                   at 6:23 p.m.)

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       1         CERTIFICATE OF CERTIFIED SHORTHAND REPORTER

       2           The undersigned Certified Shorthand Reporter

       3    does hereby certify:

       4           That the foregoing proceeding was taken before

       5    me at the time and place therein set forth, at

       6    which time the witness was duly sworn; That the

       7    testimony of the witness and all objections made

       8    at the time of the examination were recorded

       9    stenographically by me and were thereafter

      10    transcribed, said transcript being a true and

      11    correct copy of my shorthand notes thereof; That

      12    the dismantling of the original transcript will

      13    void the reporter's certificate.

      14           In witness thereof, I have subscribed my name

      15    this date:      November 13, 2018.

      16

      17                            ________________________

      18                            LESLIE A. TODD, CSR, RPR

      19                            Certificate No. 5129

      20    (The foregoing certification of

      21    this transcript does not apply to any

      22    reproduction of the same by any means,

      23    unless under the direct control and/or

      24    supervision of the certifying reporter.)

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       1                      INSTRUCTIONS TO WITNESS

       2           Please read your deposition over carefully and

       3    make any necessary corrections.              You should state

       4    the reason in the appropriate space on the errata

       5    sheet for any corrections that are made.

       6    After doing so, please sign the errata sheet

       7    and date it.

       8           You are signing same subject to the changes

       9    you have noted on the errata sheet, which will be

      10    attached to your deposition.             It is imperative

      11    that you return the original errata sheet to the

      12    deposing attorney within thirty (30) days of

      13    receipt of the deposition transcript by you.                  If

      14    you fail to do so, the deposition transcript may

      15    be deemed to be accurate and may be used in court.

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       1                            - - - - - -

       2                            E R R A T A

       3                            - - - - - -

       4    PAGE LINE CHANGE

       5    ____ ____ ________________________________________

       6    REASON: ________________________________________

       7    ____ ____ ________________________________________

       8    REASON: ________________________________________

       9    ____ ____ ________________________________________

      10    REASON: ________________________________________

      11    ____ ____ ________________________________________

      12    REASON: ________________________________________

      13    ____ ____ ________________________________________

      14    REASON: ________________________________________

      15    ____ ____ ________________________________________

      16    REASON: ________________________________________

      17    ____ ____ ________________________________________

      18    REASON: ________________________________________

      19    ____ ____ ________________________________________

      20    REASON: ________________________________________

      21    ____ ____ ________________________________________

      22    REASON: ________________________________________

      23    ____ ____ ________________________________________

      24    REASON: ________________________________________

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       1                    ACKNOWLEDGMENT OF DEPONENT

       2           I,___________________________, do hereby

       3    certify that I have read the foregoing pages, and

       4    that the same is a correct transcription of the

       5    answers given by me to the questions therein

       6    propounded, except for the corrections or changes

       7    in form or substance, if any, noted in the

       8    attached Errata Sheet.

       9

      10    __________________________________________________

      11    BLAINE M. SNIDER                               DATE

      12

      13

      14    Subscribed and sworn to

      15    before me this

      16    ______day of_______________,20___.

      17    My commission expires:_______________

      18    _____________________________________

      19    Notary Public

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